Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 1of 93

UNITED STATES DISTRICT COURT
for the
MIDDLE DISTRICT OF PENNSYLVANNIA

COMMONWEALTH OF
PENNSYLVANIA,
PENNSYLVANIA GAME
COMMISSION
Plaintiff,
VS. : Civil Action No.:
1:12-CV-01567
Thomas E, Proctor Heirs Trust under :
Declaration of Trust dated
October 28, 1980, which is recorded
in Sullivan County in Book 1106, .
at page 879, its successors and assigns;:
Defendant. :

AMENDED COMPLAINT
now, this /¥ day of Ly Us

Commonwealth of Pennsylvania, PennsyWania Game Commission, by and

, 2013, comes the Plaintiff,

through its counsel, and makes this Amended Complaint for Action to Quiet

1

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 2 of 93

Title against the above Defendant and makes the following allegations in
support thereof:
THE PARTIES

1. Plaintiff is the Commonwealth of Pennsylvania, Pennsylvania
Game Commission, (hereinafter, PGC) an independent Commonwealth
administrative agency with its principal offices located at 2001 Elmerton
Avenue, Harrisburg, PA 17110.

2. Defendant, its successors, assigns, is a Massachusetts Trust, and
unknown persons claiming any right, lien, title or interest by, through or
under them, or any of them, are natural persons, not known to be living or
dead, and whose whereabouts are unknown to the Plaintiff. The Defendant
is named in this litigation due to the fact that the trust believes and has
asserted that it has an interest in the real property interests which are the
subject of this action.

JURISDICTION

3. The plaintiff is an independent state commission of the
Commonwealth of Pennsylvania existing under the laws of the
Commonwealth of Pennsylvania with its principal place of business at 2001
Elmerton Avenue, Harrisburg, PA 17110. The Defendant is a

Massachusetts trust, of which none of the beneficiaries are citizens of

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 3 of 93

Pennsylvania. The amount in controversy, without interest and costs,
exceeds $75,000.00, being the sum or value specified by 28 U.S.C. §1332.
APPLICABLE LAW

4. This is a complaint involving title to real property located in
Davidson and Laporte Townships, Sullivan County, Pennsylvania, so the
applicable substantive law is the real property law of the Commonwealth of
Pennsylvania.

THE PREMISES

5. The property which is the subject of this dispute (the
“Premises”) is approximately 2,481 acres, more or less in Davidson and
_ Laporte Townships, Sullivan County, Pennsylvania.

6. The Premises are comprised of six warrants in the Warrantee
names of Robert Irwin, Francis Nichols, John Brady, Thomas Hamilton,
Charles Irwin and William Meylert (No. 2).

7. The Commonwealth of Pennsylvania acquired its ownership
interest to the Premises under and by virtue of a certain deed by and between
the Central Pennsylvania Lumber Company and the PGC, dated December
31, 1924 and recorded on June 6, 1925 in Sullivan County Deed Book 42, at
page 538 which did except, however,

“from the operation of th[e] covenant of warranty, all
liability of the Central Pennsylvania Lumber Company as to

3

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 4 of 93

any existing or outstanding mineral reservations.”

A true and correct copy of this deed, including a description of the
property at issue in this case, is incorporated herein by reference as if fully
set forth and marked Exhibit A.

8. The PGC designates the Premises as part of contract number L-
44, and it is part of State Game Lands No. 13.

THE TITLES

9. Abstracts of titles of the Premises from the Land Office and
into the Plaintiff and showing Defendant’s exception and reservation is
attached hereto, incorporated herein by reference as if fully set forth and
marked Exhibit B.

10. The PGC claims its interest in, inter alia, the coal, oil, gas or
petroleum, and minerals, as well as the surface and surface support rights in
and to the Premises by virtue of the deed recited in Paragraph 7 hereof.

11. The titles to the aforementioned L-44 contain the following
conveyances:

a, A certain deed by and between Thomas E. Proctor and
Emma H. Proctor, his wife, to Union Tanning Company, dated October 30,
1894 and recorded January 23, 1895 in Sullivan County Deed Book 24, at

page 53, in which Thomas E. and Emma H. Proctor did,

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 5of 93

“reserve and save to himself, his heirs and assigns all the
minerals, coal, oil, gas or petroleum found in or under the
surface of the land described in each of the above mentioned
divisions.”
A true and correct copy of this document is incorporated herein
by reference as if fully set forth and marked Exhibit C.

b. A quitclaim deed from O. B. Grant and Sarah M. Grant,
his wife, dated September 17, 1897 and recorded June 13, 1898 in Sullivan
County Deed Book 24, at page 790, to Emma H. Proctor, widow, James H.
Proctor, Anne P. Rice, Emily W. Proctor, Thomas E. Proctor, heirs at law of
Thomas E. Proctor, deceased, quitclaiming, inter alia,

“all the right, title, interest and estate acquired by the parties of

the first part hereto under and by virtue of forty-two several

treasurer’s Deeds from A. L. Smith, Treasurer of Sullivan

County, Pennsylvania to O, B. Grant, dated September 21,

1896, of, in and to the minerals, coal, oil, gas or petroleum

found on or under the surface of the lands deser ibed in said

Treasurer’s deeds.”

A true and correct copy of this document is incorporated herein
by reference as if fully set forth and marked Exhibit D,

12. After the reservation and conveyance to the Proctors mentioned
in Paragraph 11, the Premises were unseated land sold by Sullivan County

Treasurer, Frank H. Farrell to C-H. McCauley, Jr. at Treasurer’s sale dated

June 8, 1908, as follows:

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 6 of 93

a. Charles Irwin Warrant Treasurer’s Sale Book 1, Page 260,

acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
-Treasurer’s Deed dated December 1, 1908;

b. William Meylert Warrant Treasurer’s Sale Book 1, Page 261,
acknowledged December 16, 1908, referenced in Minute Book 7, page 244,
Treasurer’s Deed dated December 1, 1908;

C. John Brady Warrant Treasurer’s Sale Book 1, Page 259,
acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
Treasurer’s Deed dated December 1, 1908;

d. Thomas Hamilton Warrant Treasurer’s Sale Book 1, Page 260,
acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
Treasurer’s Deed dated December 1, 1908; |

e. Frances Nichols Warrant Treasurer’s Sale Book 1, Page 261,
acknowledged December 16, 1908, referenced in Minute Book 7, page 244,
Treasurer’s Deed dated December 1, 1908;

f, Robert Irwin Warrant Treasurer’s Sale Book 1, Page 260,
acknowledged December 16, 1908, referenced in Minute Book 7, page 242,
Treasurer’s Deed dated December 1, 1908.

13. C.H. McCauley, Jr. and Florence M. McCauley, his wife, by

their deed dated December 6, 1910, and recorded in Sullivan County Deed

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 7 of 93

Book 36 at page 223, granted and conveyed the said Premises to Central
Pennsylvania Lumber Company.

14. According to Affidavit of Ann P. Hochberg, Esq., recorded on
December 9, 2009 to instrument number 20097573 in Bradford County,
Pennsylvania, Thomas E. Proctor , Sr. (named in Paragraph 11) died on or
about December 7, 1895, a resident of Boston Massachusetts. A true and
correct copy of this Affidavit is hereby incorporated herein by reference,
attached hereto and marked Exhibit E,

15. Thomas E, Proctor, Sr. was survived by his widow, Emma
Howe Proctor and four children: James Howe Proctor, Anne Steele Proctor
Rice, Emily Water Proctor Mandell and Thomas Emerson Proctor, Jr.

16. Aclose reading of the Affidavit, Exhibit E, sets out the chain of
title for the Proctor family and indicates that ultimately, a majority of the
heirs of Thomas E. Proctor, Str., conveyed their allegedly owned mineral
interests in Pennsylvania, which derived from Thomas E. Proctor, Sr. to the
- Thomas E. Proctor Heirs Trust under Declaration of Trust dated October 28,
1980, which is recorded in Sullivan County in Book 1106, at page 879. A
true and correct copy of this Declaration of Trust is incorporated herein by

reference, attached hereto and marked, Exhibit F.

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 8 of 93

17, At the time of the sales for unpaid taxes referenced in
Paragraph 12, the Defendants did not have the oil, gas and mineral estates
separately assessed.

18. At the time of the sale for unpaid taxes, the real property was
unseated.

19, Pursuant to the principles espoused in Hutchinson V. Kline, 199
Pa. 564 (1901); L.A. Rockwell & Co. v. Warren County, 228 Pa. 430
(1910); and Proctor v. Sagamore Big Game Club, 155 F.Supp. 465 (W.D.
Pa, 1958), a tax sale of the unseated land passed all title of the real estate
fairly chargeable with the taxes and not separately assessed.

20. Various Acts of the General Assembly have ratified prior tax
sales.

21. The PGC acquired its interests in the Premises from or through
the purchasers at the tax sales.

22. The PGC acquired all interests in the Premises including, but
not limited to, those rights allegedly severed previously, by the conveyance
listed in Paragraph 7.

23. The existence of the documents set out in Paragraph 11 and 16

cause a cloud upon the title of the PGC.

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 9 of 93

24. The Defendant has made claims to ownership or has tried to

convey rights, specifically with regard to oil and gas.

WHEREFORE, the PGC respectfully requests this Honorable Court to
issue and order:

1. Pursuant to Pa.R.C.P. 1061(b)(2) against the Defendant and in
favor of the PGC determining the rights of the Defendant to the oil and gas
estate in, on and under the Premises consisting of approximately 2,481 acres,
more or less in Davidson and Laporte Townships, Sullivan County,
Pennsylvania, were divested by the tax sales listed above, pursuant to the
case law cited above, and that the oil and gas estate is owned by the PGC
free and clear of any right, title or interest of Defendant; or, in the
alternative,

2. Pursuant to Pa.R.C.P. 1061(b)(3) against the Defendant to
admit the invalidity of any right, title or interest Defendant, or any of them
claim in the oil and gas estate in, on and under the Premises consisting of
approximately 2,481 acres, more or less in Davidson and Laporte
Townships, Sullivan County, Pennsylvania, most particularly admit the
invalidity of any interest, right or claim pursuant to the Thomas E. Proctor

Heirs Trust under Declaration of Trust dated October 28, 1980, which is

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 10 of 93

recorded in Sullivan County in Book 1 106, at page 879; or in the
alternative,

3. Pursuant to Pa.R.C.P. 1061(b)(4) to grant possession of the oil
and gas estate in, on and under the Premises consisting of approximately
2,481 acres, more or less in Davidson and Laporte Townships, Sullivan
County, Pennsylvania, which was sold at tax sales June 1, 1908, and for
which various deeds were dated December 1, 1908, as set forth in the
Amended Complaint, to the PGC; and

4, Such other relief as this Honorable Court may find just and
reasonable.

Respectfully submitted,
ON GAME 9) ASSION

0% pepe
DATE: / ile / B olop3 | Jake: thf ff
C/ /) ; pital C. Bechte Chis Counsel
LD. #49681 ~~
2001 Elmerton Avenue
Harrisburg, PA 17110-9797
FAX: (717)772-0502
(717)783-6530

brbechtel@pa.gov
DATE: Duell, IY 203 Lt by i) A da
fi) Audrey J.B ucek, Tis Counsel

I.D. #2084 °

2001 Elmerton Avenue
Harrisburg, PA 17110-9797
FAX (717)772-0502
(717)783-4250, ext. 3617
abroucek@pa.gov

10

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 11 of 93

CERTIFICATE OF SERVICE

I, Bradley C. Bechtel, Esquire, Chief Counsel of the Pennsylvania
Game Commission, hereby certify I served a copy of the foregoing
AMENDED COMPLAINT in accordance with F.R.C.P. 5 upon Plaintiffs by
depositing same in the United States First Class Mail, on July 18, 2013,

addressed as follows:

Rieders, Travis, Humphrey, Harris, Waters & Waffenschmidt
ATTN: Thomas Waffenschmidt, Esquire
Attorney for Defendant
161 W. Third Street, P.O. Box 215
Wilkamsport, PA 17703-0215

Bradley G. Beoktel Chief Counsel

il

Case 1:12-cv-01567-JKM Documenti2_ Filed 07/18/13

Exhibit A

Exhibit B

Exhibit C

Exhibit D

Exhibit E

Page 12 of 93

TABLE OF CONTENTS TO EXHIBITS
A. deed from Central Pennsylvania Lumber Company to the
PGC, dated December 31, 1924 and recorded on June 6, 1925
in Sullivan County Deed Book 42 at page 538. (3 Pages.)
Abstracts of titles of the Premises from the Land Office and
into the Plaintiff and showing Defendant’s exception and
reservation. (3 Pages.)
A deed from Thomas E, Proctor and Emma EH. Proctor, his
wife, to Union Tanning Company, dated October 30, 1894 and
recorded January 23, 1895 in Sullivan County Deed Book 24, at
page 53. (6 Pages.)
A quitelaim deed from O. B. Grant and Sarah M. Grant, his
wife, dated September 17, 1897 and recorded June 13, 1898 in
Sullivan County Deed Book 24, at page 790, to Emma H.
Proctor, widow, James H. Proctor, Anne P, Rice, Emily W.
Proctor, Thomas E, Proctor, heirs at law of Thomas E, Proctor,
deceased, (6 Pages.)
Affidavit of Ann P, Hochberg, Esq., recorded on December 9,
2009 to instrument number 20097573 in Bradford County,

Pennsylvania. (12 Pages.)

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 13 of 93

ExhibitF A Declaration of Trust dated October 28, 1980, recorded in -

Sullivan County in Book 1106, at page 879. (11 Pages.)

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 14 of 93

EXHIBIT A

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 15 of 93

7 a 2 - 4
. eed tind

pe ea ETE

tees ni’ Deere cesmteae pop stnine ays ty trent tnt sae ie fa fy
Tees
eee i- Lb,

it vel And hash shreviaihyahiils ta na ee
a ty pas Pate ey a Mag eh

peters
oe

he wet tie ie

tes SSccntd paced Saha,

.
way
Pept sane

‘, Alte! shah

laapda iat a
: - oat . ca + tr ine a ef 2 ; a fide ah ° ‘ ‘! aS . 7
Stim Ttaepeey ae oe ie Rela

FPN eRe pte

Sanwe Pileabaé tay [leant w ¥
Monat fae. ewe ate af

t i. ye oA . ire ph i ® [pe SY: At oe ,
Bic. ja a: or RR

[gs Hh ike Osada oo
if gotten ihe stage. eee peat Mish ttdet Hee a),
“Pro grtoela sn epee = : 2 se so . a * wor ‘

Sf hl Rpsegey

wren tgeay “ fi h
alee

. oat . . tas ae JH fas *
pear tee ge feat gt as resntctve dhe: thepee. ‘
at emt wt gee . oa fee ED Sean's,
‘ neater mabed a reveeceteen LL EM SAGE Yet .
. te . ag" Pra .
oe

sf ae tab tS Ta Ha tits .
winrar ee ECR aig i dhe fi Sn

vmitent i Re af Dla de Hed if Maye a, wet
4. ee Oatcas, ep cd, “i Hy

ofe wn

yah irate, on -

hea tere thie aang
“4 a es

Se aot
Les er Eyingesety,

PB ore mere edie,
ae eee

al :
ant egeaecee

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 16 of 93

3 fhe thss) on i to :

idee.

. se His

Bieber at
+ PE ein oF
ethos ee tage

waig Guu. hades 5 aid
a ices

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 17 of 93

wea EN itn dies eset tah wnegers : ee, = 5 3 ye
yates aeneed afte “feed f Soins aes Meth eh

hava, Vas bedi tind
tt ti anne
eS Sete eee

trad ‘i “3 ty /
ey Wilkes a

4

eae yepeortaaee patinage sAfetet ste tees bere o

. 1. te +. “
nage MAES... f Teeth ba pt det Taf
. * Some 2
: fic: CPE teslen oc te
2 195°
a eslates dupes rie} espa
barr Tat enya Wate tens pe oo gee res Pet Seremtheshnrhe : Sane
rr meget 2 tem: - :
“eed, , a 7 .
. =| Mater Bacieagley ; :
. ‘a . +
La wate ed hited, . . adi. TET re are ema wit eingeeae tees = 5
Pat “, of “at

* *
+ hea es cy Wr ete Sad en! menrenct Srtnginer, he

: r, diet iliat te
ey d / t: Mad:

+ fre

ee ona

ey pryeoinan as

' ; In siya ceye tate "Tis werent i tt feb ened

eye

teeta MA need
fy

p . out 7 .
FS neath

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 18 of 93

EXHIBIT B

Case 1:12-cv-01567-JKM ° Document12 Filed 07/18/13 Page 19 of 93

EXHIBIT B

Coomnaraeath of Per yatta,
Peaiyhesh eet carietse

Ezpyigus
DS 42-533

(Certrat Peswinytvanta Eanter Company]
. - ee

sah oo 61924
Te is soe

. C,H icatey, i,

ead Horence H, Hicaitey

TWeeahrers Sate GAGS
Teegecrers Scle G/2(1973 oy iss Ira ‘Warrant di
Joba Bead Warect 55 Ares 5 Irak Weirerk 400 Aeres Frepnovecs Salp ef Htoe3
sSeqom | minairshits  staaicael iia vot etre
Trezoure’s S34e 6, ‘es RAR ak
witan Hevatt Varela, Jeres Heide Boo Honda Bank 24g Adcaniedoes LINERS] 5 Teenie nee aS
‘Treas, Sates Beck b Teasers beet IL/oos Teean.ner's Sate Opa/t5 Tite Bogie ear Treas, Sales Bark 1-761
Adrawtedged Hnejisos 1g ‘Therras Harthmn Werrsen 499 Adres Treague’s dedoventedged I2PLETS04
Hrrete Bask P2it ‘Treas, Sates Sook 1-269 ASS Hantedxk 73H
Trensurd's Deed Atkcyratedged 1 Y1SH1059 Veregurer’s Oe
7 Ii833 HirRe Bonk 7-242 12711339
Freaezes’s Deed
Jagtgae03
Teer H, Forrest,
Teedoter of ENA Gaunty
' Cerdred Pennsytypeds Lumber ci i Dives H. Proctes, widow,
(svra ata say Jeni HL Proetezy ane Pp Bice,
Bratt y 4. Proctor, Thoreas B. Procter,
Bias igag hersat ire of Thoras B Procter
0 27-613 7
“7 SNtHiey +
{Usha Tanning Coase) oo BRE
f ikierals; coal, ofl, od, ar Pte
§/2071898 a
. 03 24-204
' ©. B Compt ond
Sieh H. Grant
ee SS
twins Wetyet
Tr ee" 7 2ef is: Treatwas’s Sve PAEHEIS 3, rest $e ss 1695 Bes Biles Book 1-202
inceyecrerme —“akearitam,” abies alana ens teats
tenes Sates Pooks £-203 Treas, Cn ae aa 1-202 reas,
dodged O77 tess Moeodeted ap apy bbs Acknowledged 9/27/1665 Treasuters Oat vote rae 1233
ete renss Th trae TE a acteanaiens ELE ett REIS
Teasers baad TRAdW peg .
eines applies Ds 1e553 Terenas Haren Warack ? atass
$9 .

‘Treas. S2tss Boott 1-292
Alpontedind OPI ie86
Vressures’s Ded

Thoras &, Frecter
30d Orina H, Froxtor

SHISLS99
De 24-376

(ihe tsar Hee lusrbar Ceerpany }

shu
— i ™— .

Herter Rebeka ct Hesry & Giant
{tye ‘eeee | (i Very Ke si,

Barton K Jamisay
ard Jean Wi lke

Case 1:12-cv-01567-JKM Document 12

ERENCES rRNA

Wheres

een ufaefor
“ohio
7 Yeitan Ure
i-1ites
“ee TRH ipa
£saHeTre Sr-riiled
Berg

Filed 07/18/13 Page 20 of 93

soalieelt
Hera Frans

BIS ERT
Set frees

ite aed
a ad

(menesieang) (orate) (sepuet even) [yep ner

PPE Prag Sen
ssaifiele
COT reg Sees Feely
3
A RE spaery
Seehonte
PAE SE
SS-2 og ma eas 1
Seorferis ee
ERT A SENS FIT)
STD
WAH aM
BssTfanle

BSFl, AE
Sos} org sae TL
Eff
"QA LU Sep
* pratforfe
operas ee
EL Me SIRS OTIE
SSF.
"YA RFLT R97y
paras
RT cies Pea Sta
eerie a0eg Fa SPLULL

ie] S220
6AM
5
4
BSE:

[Pameaa ens} C SH pea (Ee) Wrge)
Bue (Cease) wet

or £a
Blaise
Ht “
fe09 [ eapaly
Pur uy abi

5O-4T 90
Tea hiet Pe Pe zeae, et
ecor/ses eo eT SPA
- ERE Salt .
Pave UDI UtAurd oe,
Capagcany Usluney pe rp 305
AURA of bagi WAAL wane
ayeysabn pap “99 Bu
zeavisefe Paz> esi a
ssaistey pee
OU AAOOM SCY pu? ate 1
Povrepaeya
SAM TH AT DRUPAL TAU Ie BROT PP
BVA B21 2 Deny
. {BEEPRAN WRAY Aas Po? bodes eta petty
{pyseont p Jutta tg WRT su year
"LOL PAY M22 Se pajog,
ee PR tain
MP thd Fee wpa Aas
PLE FOUE potest LL ag

TeE-ST EO
Sserfecar

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 21 of 93

[ewegtexeg 999809 peer} (seedsena nicas pra}

PAPA BERN PT
Lganiae reeforit feaveue . cee toes
yreee teriforte eI, Seer:

zaenezfor
we ea ene, PLAY

t + + t-
(iru) (GArareD) (e804 81) (Fem ioe) (remeswiea)

boyy uy
“ponies ‘a ui fg
Tonsnegy Lay 79 S434}

e-geg
éCaHryor

fea yey

GFT ag
TSORATIFEL
t

hey HD ARH .
PUL FEIN ET ¥ RID

Sic bo
want art

* (tena veges p aaeveat

SHELA, VST SND Fp Legend po yed
vane Stoo, peng try Joy
SSOT/R2/6
Pq sarees
SOT arog preg stag
Spahaele Sippy
CE

53
apy SIGE

FBS &t
Hes ay ASSHTH2
Soateels .
23a BH Aa Fre
EAR 3 SAN

” $#2-8ed
asayleft
TRALL JS poeg

SasyUL tstoaty id dy
ASSURE Dice fp HTT + ye

<

By ose HiTg

+. FEL
Ceaninhs
asor/iar

NS WayETa

tee2e0
Spallatic

hed Se

seek m

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 22 of 93

EXAIBIT C

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 23 of 93

EXHIBIT C

oF [ete

fice dot - pote, of elder tenttbegene

4 Katastli facester, Lop vite Micarrvlfe Mere
(Pin Coren a LAP OESP LCE. EG: er ctF rece Mee TE ete lrratves rr eee
bath iy

Vas? ily iio gp Orsi recur MP Me Midid ate
totes Hah Z be Mob teer boverseee op play fon out: CLG Ee Letearee!
LY died AG Lh pry wif. seta ME: Ue
Mela fbule it, hefeur satay tatetarenadtee fife Wess gf tach
Big

Goi ie lerceceiepicttiah a Mitte ber Ler letagliag,*
bee Meceyut, Shettis Ker pl

Meg g tf tfp Lil Helden Giocutl
Bemates pp Gif Lope Ceteen Cx french oe eregler lireehectahnree

te OEE and cate wacliad ye tt egs |
sibtsbefcd CD oe iG Lio feiecs ippars

(gpites Heda fille
Mberale Rortey Se Cage tele cxcerl sti See fa ely. Uf eiewespirtic ltd.
| btterd peeve c bea dheve Live Guarani Letais etd Seb adedl rg

Miepestecetpua Goat Zeunispocbge Hc tilegel ut Me gems tlt yeetin
bit Cbiter Littpeciere tie” teettvedcceret Loe DEO COMO OH Dp
| , het pe Jill ges fo, et lt Lysrseey tts eter Hiawtbfenafe nifers
€ Zé We GP wEy LES Ap rp, Qecemetinipeth off LS eects ae,
. LOL Et eae SEES lees? i é Ate eg, Pie Ls On a
eS weghow Es KE Preeti Heaps tig, Me finches E. de an Cyc eens Cee bests deve

ee Ds nig
‘etn
/fgeot Se pan if

era Getler gum é Bega PLE |
Guidi Mec Anetlny A He, fess

eg “tales “eles Os BOs “fees Bes pled le it I

deterd MeL eg A ty. hex |

leniige Lies Cf tres tannacch og n
ry, K Selle Hoevelenics fe te LECOLOS fF denier tafe, bln
lave wp ifs pile ee adie Hert ath
Soi Mets, (iy Lege Gibed pe Meee ge

tf fazed
pic ed paral
i Ge sere fll Sy pk '

OLE HE. fol Ga (arog
Meacal arg seewt Meee feteg Sei dy
cee 2 hte Hehe fi tf gud koe Le Me

~ Cr obitin Cy degaifed Ct poche ei ale aes yen
GEES untach gp Gf igre ated ate
te ope ier ‘he HMI Mitlytten Medettn.

» Leia i ee mete KEE ry Gere niradid
Lt tGeumys _cutefece Bran, ee tne: te. es é sb agte e 120, a Saas
iid Ge Bidivroar dened VEL, A ie rh, i“ sccoteageue & ze

legh ogc | |
Gee (Lia ih fo Lig ugar os iyi
- hog ibe, p pes, ba vb: ue ici
@ Eee
scochth dy

ee Lip

ager ape

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 24 of 93

de, Mo. Geet pp ‘dea eetetel tind Mtl Legerotapi POE LS

hucahtellig pip tle Greg Gisted vafled Lbervte
f fog wis Eee Mirlg tie Geli ac
x, “ae lu fg beds ed te Cte Bape. te Mitte Mike grees
Ot, Oh that, Gig Oltereden Cbiyelies raspy Met lee
Hct yo fer, bun te CL dee AeObg Citing WCC SO fie MOLE the |
a. cohurk ‘wielhe CMe LEN Meg cblditet. Sf herent tevet feels Betd,
bu Peeeee fp, pp hegenes Hh Leiter EE Vil “ip fferea hepredity iaigy }
fipode LOL? fb fc fares MICTA® tdi LEE biti
a

Hak Bh pvhatnl uct dtl, ‘ Yo, fe fly fe

i

}

| ee Coop f Steet ery Aoeaui eG

| Gc Gun hone fee ‘cee Lee ged at fel Gz Lib oe
} puctea cele ot Leu pate it ben CME.

i

Eiaget

ae

rtf

Md wach Liter hor Mee Bet U bac fe

tage, Bes one J steed ee if poate Ca tefl Vf

dg th Le te ktit SE EEINCOL AOA Cat Or Blips ee Cee bogie
betes Set les fe “biel Eade higvacd pify Aagctatfe

Lael fear, Heed fy  purefees tO Mdeti ive Ler perdi ff sted eile Foe

Ly AMOS t oavitets. heer eGg hg Eigl ty Mati be fo thea cast

i Fly "iE Wt a VEE BE tase
: zi ved tes Cae Ce ore vealed Let. Goi Li Mec acdln “ope fie
Herth te pi Gekaes: SORE Seg ieee tte secede
Ei
i
i

Che iy chy fe erg Lp Gaus Catia tye met tite Ldeaobny
cle /i Lecce Oh wgley Apts lee et (peH GER (egies Cod

heertho (a fle voles 4 fap lap soleffune Cling Mee
BURL, Merny ‘eh At be AK i ip ase Cte eter ee! tee

J Lepel fetetheg Loe “gta thie file Hee Horthh tatad Stee pe

E: Herter: (tikes Cun foot Cute Mttet, Ge Gam ti tect” Mii
Ml wt Gy nent te Wag Hg els EF vy hitchut. ge lea iafiat
| Od Voy Getta Ate Mobere Z te Att MBL Cd rele sebocen be theive
i CAE, Uitiien tp “f llstif

teed Ja flaefs te Wile lan eae cretessta Me ak
Ht Oe te Wal. Caruf athe fe t ocwct Ho (hes ht (Meet Rated”

f
: AOtpaige Mivetes deck atten tesa pct a whe fears ®
te a Hewnggotitent pulps fh 5 MT Prteutip rede ee

her pyle We. “a VOR Merete Led, cet bp lth Matweitffed
Mid, I. her Gedesiauclcteaep, {ponds cor Cee ue a
44 din Her fh & torr: peste ee: lait “by Qeestheree lsat,

Gg ey Goes cafe og fi gic te Moekhe Me Lene Lifes wear ite
ly be Lovet Mectielet Laff li Rhy fig loc ernigeh ,
ate, Me ft tty wheers cess Le 49 jg lt ELA | decree i
ier Cette’ at, , Weflis te free feed (6 Lamseegen Go ae icecerss f

“ei le Cera betve pe, Mite fe § Weta bie Ac terepe gia Melber oe

(teh tag, be opie Vill, be of Meee, Rey recite” Cilred sae Aeckeood
ecw ety Ia Seago the Casta feu Wi haat o7he Cee Ge
Cf ert Heecrcces Merges by, verre

Beet tebe forts ev
cs a ee es gta

TL
Asie Gy tle fe fe og Locfia Git “tag Mes : gx
COMM ACRE sigiie the Hak he
Lttyieaf bn Sila wt Loe Cone Ha Of acs;

ts cen
a

na he, He fisee MBit ge,

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 25 of 93

Bi

Lit Se Spey tet

AWCEESE, Hh dinnecnon i, atch Id cep |

lq ON eel Milt pitt lib
A Abed, at heed Bees Beg oC Npaterk ga fare Bin
Pipigeeld cewcephag Lee

ee HHUITE Bit Aire Past OS SE festnG eet
fit (laa igs LECT ha Mii fetes A
Miyt sy vn Eotecsp tet i MO weg
itp Che tG Lie br

: PEP OCR, Look’ {
He hy le Actos icing fi lewis “Gis
| Bess Cobterane grlitday is ee cz. freee OG ee bges Bore flli,

ibellesrrductoe Cyl wi feg so navestd eat
Leben tthe O fC Cle

Lia ffeawlirortie sehen fb beebeg
steel Hee eeys chia ce ba A be LE bonretsd cies Cet ‘

rial exer bee loos direc, Ge ty Hee. othe WHA, hes 16 ie
Wh estilo hy bees WJ if wit Ae

i ttre, “ates ete Lie
age Aip4 tte baer ttred. critic Upeye (abe deg trheeggpsbinety
fey poy te on Geel Geencbeeg the i Cogs

Li, Leaf Lbecefe fi fee Cote. foes Lee Wie
voce oof Ci spose hw Ma bs Scot fearsign bia hee EE Mii ea Keres’
def hibcce, er Mth, VAG 604 Le if whew Le Matt leef (eee dhe Le
Le. pe teed tage “xy ucbnty CaS oye i hreahos atte dex tf
CU

heed PEELE ferver,
zee lecerppent ticle eawofh 4 ied
7

2

ese Met Bec roe fe
ches fb, gat te te OME ya.

Mp dtr Reise farctttoes te Mar lf. OY wee Old

Lephie perct, Pier ‘oth ey Hate Cha becentrertieit bo yesafees

i Lig seed tg ff sth any Oe vee Mewes Wie Me tineer

heii, ? apt gee i pitta pte tet indole, rte

Cecio. petear yh eo, eposks, bart ee te LOL Med tat n op lees Crag (ue MOM ar

OPE, Lee Neer ayy Gh holy ket hee eee (Geos fica wotgtes Bae
PEO “oe. ey istic ‘0a deteretvect deme Gee. xe

Be.
Le tebettipead Hs ijecge a

Motif, Mlese fog Prseuga teres eile ay ege.
yee ne 1 fferatles Ee Ketan Eb tet filo pra ab bree
Fo Lee ME Exanf LES collet Hash
COLE KEGE: GEtty fe Ag ep ie egg tel Mest. Liners ae
PROKCA eae CU i ier Lint oped Poul Vier
eet Barer: Ge eye

Listes

Bak, Age Vis Ly ont Mee vette Itty he fle ‘afer 2 tb hey WL ie Leute =
eypee feo Mate ere CEL fos seceet Bete Zogs ~
Mt PRONG oar HA L Lap sept see. pea

doth

fog fate Letts daicy

war, sf

tit bf tie, Ldditid, ut Petry eo copay Yee Hip oes
Ain fog * see fig, Vale het tb a apa CS
Udit eepicg Vbter titcrthugar fey eos Meek,
Ms ee ted eps pee

(a

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 26 of 93

y

Ate fot OES Y pgs heeppedt Gltedt ge
Kite ‘DP Cpe fives, hep + Lick Vaan tetbafe Geserugiegbiier Mtb ete py a
Keil s sing thea hog Mat CE deatitey, the Sea:

tug
Megat litter Nerieg Cpdistet, oy Canarneesgerhcrnnsi reat dy
Cts ip pg Oy ly Mefia He legets Oe tihng pee
lecarlete, yi Sete fe eee ts iia
ote egioe. heels Mepibeg web fei EE:
Ae fet, Cpevee data oe Wecdteaber Lee hp ds Logik
MEF “Hea Gyn
Wal?

eige tyilbeg Aepeupealented L4 reg, DL LGC, “fe

“ane bye fog F Keg, eel eeta re Wohoant He fei fivafe TOME oh
Ltett ety Hee, Aieaee Aerie Ole te Ue, set <
I

op pgaaer gh *

4

i

vt en AE
. te & bees eees teil fg EX c typ

Mi Bietitvords
hing fed OE

| ed reL eH,

: tre B, SUE: feet, i te tsp

i Aen ces fp thcer cite Mae LEELA pid teas % “st adh i tt Wife
: ip [hel bi bntaaklr et Bio

i Seca leer thy 7 fe er Sesreedinetefe ped Keg lb Weir ‘pet oe
Sere Pane, es te wbcttfey Gk Chef etre? fp hrcegh
y lest Ch: Feige tte, CLG Z Lhe eahiot tb 7 bib. isGae
: “go ene, Meet Le te

nest farby Legs
Ap girrgigdie ted, GG

sp agp Oe He. Lip hee
bottle, i lp LG ook, ‘lets baie fbtpt ik tle LG Mk Ged iy
ne leet.

Coa ‘ fitre fe: Wack LOE, We asp oto

SS rine

ret Mes lect, bo fe fle bor €F tuagh tit Gente ee Cal pid hey
E . Mel bys Me Chet (fenntiy, oP Le es ‘gait tet GUE Maen.
I dee f Geansh he A MA leg Sted focereteect CMLL he

{ = pen? “wi ie Meds tele She
it PHO OL “es cee tie nd eET
4 bia: de Merten ye

i gpilestly He.
c ap

Hdltd cl Mr 1. igre Gig
2 Met itte the herteat,, aby Leite Gili

pdf “ef i foe, pele ti Ley Poste (poly. fe duey tet
Kaclteher We. hee tigpibad fe we by nas tat ted

i

Hy 4 Atdr Meartefpafh ys Lhy Sows iheihe Dore las 2 ftete Lee
| od Moapnncane Ahglh CED heat ey heer lid rv hte

A bwt hug te Wik, heel whitgtes Abi ged fo auf
pion tera pccecspillf ¢ devas yplt Mc Se ie sb Lagle fede
Kioiteerieg ta ip aie ge secrets Apageas

Aa teehee ( Gl Ol tenth Cetbbertreg reo flew ie GLH
fr fife C0 EM HME ET kefo fen cap gee LOLOL ALLL.

Ate weg, Me rhe r foe alfa Pep LES Pepe Bh klee RCO YS

CAM: vig tH EGE red. beast biieKleccatane Oe

Mie Lee eter, Gant ete goes Per MEH CHA Le glided i lecotiush ive

Metelhcate, wire Cac acai NH AM Lagi BM

Mes, De f¥E ECC cto} Wh Ye uaa Hawks Gen ther tet
Jie Prnrta Prete Mie ely hts Bedter cutie entheieetbn E beads i

A Reheat lie ge Hens Mew, & terete Met trdeeciane fit see (Hits

Metin fp Mee st, wit fl We idee. GE bas  Heguphe, ete hath

MOE Con ce (acegeiyy fa pine eet ‘ornate oniligg

(eee Gncrstigygidfe hrs fat

Seen

2 Ee

% SOBs
eee Hea nea

Page 27 of 93

Case 1:12-cv-01567-JKM Documenti2_ Filed 07/18/13

BY

Crb, wwe Lice htse Gp tetiress Gfle Ale ence a bi beater, ts ty-tthen tothe
| IGz2 CHAM ett teas

Metin landhate Ce H
Pry Bie rer, Jeng Mes yong vce lone be heed eebcl Maraitie ;
Sette lit dircas be hen esthe: teen Bh i Mera iets i
- Gee tattered AM ayes igen tede Ligue Za ue :

Ef oh
' “ant gr oe peainllwsts M ho tbs Lu G tegec Wi, ets tect brant
in ep allie et eect arcs Pewter Acres thd sivefet lt Wetsetge,twnte

Ae Lebregesegts ees bp ahh eteelt Miu lyfe epee ‘ade CHB BS Es.
pee ge Meats HON MB Lr Aevutth, bet.

\ 010 by bp Ys acl hue UE

Penge zp (patie cheele Lett ray i pcsss
Ge Mas Mlceg a fi Ye Ge, i fey? sy
Tiles esypite oy

ECL

one Sayre

Gs GE titer of tyr gia, ad
pepe fijp de eee hla CEE oe |
Spsted Fe. Les eects Ctocvtt sep

Aid peut fitidf Bayes Fe Wiseset fs ted Morwaintatis sphevettd pee
os Come feafa eee te, Loc nica Hinge She: Mei: ;
ila tag otter neath Cea Ciesed” Fe es heal uf t
yaad coggne Wapecittiees ot CMTE, iene les teria §
(abet Se, EE OG eppeln

{
!
Mbaean
‘ ire Wid glwwaiy LLG FP be ah bet Panties fi tx robaiK |
Ufa LP Ads Meesteeererdten cette, fice fe CP Mel E Lodbgett eter’

Aptewerpdbnithe: a CEs ee
AM led rok fot

PEC
£ free titi Hila teen sthhe Go)
te he tevony fred lt dae (gS Lied Ad (eine ae
bio une ieee Pug te stenty, et

Gage NCR DEL,
oe Eiht, SE:

Sie

a (nse

wept Witte tet begapagbertoly, Metab sean

bovis Lucey Poe che 1 tog + swe Tattrvat g Hee “fe Lista ‘ernank
fgernn gg va tbe Gettin? Age i poet Hess Cina iguitior,

TE Abed. Lee Gea Martha I timers
, CM CHK ber ee Ct Ct pel Ci titaf,
Sse te tot tne, gentuceanrl Mato % |
See eeratsclas cents jhe siut Ie Lepridby Metcatecs Seis bes Beast,
WOETAH Catal Last igeceeat 4 “otis The he vac |
asfetegs Gperilea taye ry ay fig Polder Pg trees Ceres}
GAMES o Metter Dut onto eae ft eet
Ges wager este ayy ee
foitfath doe gf tthe
cesthateongiphia “

tion Bethe

x Hat Steg ‘es fog ote fe Mega cttrerggpcker:

A Becesee

ara 8) BG | 4
ote, as eer Che, Lge ria 00 |

te “pertnd tipi Lgteiipt LEGG bie be tertorifera'%
Decthe “reife tel fect eels,

by aba TS
ate ae
;

a ered ectenceteeTh eg (their he Weer,
Lean, fap eedecnetisty twin ctl Gs
4 at ige gy Abii fe;

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 28 of 93

Fr
i Mabe. ay L22E tet isi Sete pees
i BS
Ee bs dhe Cette hea wee Lipa Lap namie Gian Afeewty Ser
Voonbonr nap foblp MG SEE Ot ter dltetvtnt fee
Meh sebancile Geen edtlirn hab dee cit tofu ef

. AGA a OC Cpt KE LUE Bd. Hoare Lee :
a GTi Buetiec ybtvne tect line? chore yy Aevette tt Airisher ravitnttelank 3
iF Mee peut leeasheune OE neigh Bp eng Gre Cted

le @ €
: co Led, ‘

¢ soppy fag forggss safe we
fete

Lal li te retvay & eee seh a Metecttlere cageett He Ag lige op UG.
parting nacsfortnep Med eo
BikctiK Ma fer EE cree CE Gp fitte, le (Caer We
"ye. Cost tties nt %; legge Ci fer CO fretiroer
LZ; ee Z Lent, eet. Le Whcesee (7g pial CME Wes
energy Yi gether tind lee lp Lg lig. Cafe Chests s vost
Atccthee Sa ist Govt the We Yee Mi feccrdely Vo, los He piace

Ait atyf titietee he Hee’, Edy hes Yyed,
"dees Yew Ley Seta asad Sede Gift
! better le pty seg of, saat Godin OE.
: oe teu dad tee of bbws Weert Cl Dray lerpeas deed ery ere oe
Aipigtir Gh wv Gres Sol befenesta pen Le cnacbr feos lat fventiid EE
LG BYACELE of City Biter, badive were et er titheany: |
des Ly CIP Whennathnt Cd hven ere Ceeape E bathe, ©
CCE feet cel setesge ete VOLS , beet ltd. CLO te We etentet. '
Mettler we peteces g arerte CHE Atellzet, iy Pigs ay tette 7
| ae, ithe (ef Cpobe He wetter PM, Etee Cr eee, 0 FETECCH Mitel. EMI |
‘ filg ! eteel “yp Apia ttle Arce lew ett ibepeater Ss Len Be
Link bonne D Ufa, Opsectttion dnt ip 1G, Oia Lectigeefé
“Ccveat! MALE venceed Up lug “kd Abie Mba: } Viv iiereceeh Sappercty hater, 4
hy Cer Mite dy nd Cees “y A hes tab tteie Coen Cer ttre, bbe Bid f ©
We fiile. Shave “ Sitcel Att rey fet, Yi LES UWeiel? onthe
on (ge thet Letter Lobe of POLE SS ATE AD Ceres MAE
Mage He ite (Cpa EE, ier Fe Clete fel fe & et
Cet Et vag ‘rete, vo fe by Force cate wale dg, Ces Gaetgni y ocdinep.
effeur® (esi YO Aa te th, SLE: cir ieny thefirun  Meeny he dterit ede
acy ie pos Mies Gttct pts Lethe eas ovfovect hecniteK
MOVE Ce the eV Letcees, th dy BY Cleccetys ce teates ete ELD arvet,
Mteee Mette lene whee lai LSAT, tebe apseirser Arce Gt SGT teA..
gles, Pricing, Spach Bhycere Maver <i VEE OKoceree ‘ep oing Li Lier Men.
Like et Seiten Of Mase We, Mie Cte, tte lef feo (fie
re apie de eerie hes fp Magee heh ‘ottsvecli foritior OMe
OFF beth he teee ¢ i Cy Mt Leite Hest ee
ad, heueteby botox ei operant Tee 2 Gpote bree Loe Co pep

Mes bike SG Peer ‘Yyuug firs ie “gee tet tag
Se fat og

-

A arate et ree, .

a

te. Matter ¢, tetany haz iy

“A slauvegltcate Liste tHe 4
hea siokta tg TM WG

Case 1:12-cv-01567-JKM Document1i2 Filed 07/18/13 Page 29 of 93

EXHIBIT D

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 30 of 93

EXHIBIT D

peo
'

oid! Codi math otf, Bid.
aoriztin! cepa A

Aifeecbiner tte ibe prt

Do Ose Aaa |
- ese Hs fe hie on

Leet Aad twtth Jourdan

Eth Wetiiad gf tad
Hendind ey dfn dude ua Gy saislowct tbe, oe awh ids
lau Aad Conf lacey we

berlin of te & chi bv
i te Helio cae uted seu Dt Ey ond when
fee ty had kblameali PUA she + orlasse moire fe : on wed
Ata) ; , . |
Adee ry ucd , subsertivd we. obeu eon i Pace 6
AIL TY ey wtde Pickus a reg t fenaaafe dph , e
09 A Sot. hot
Monte po Cy tzd Cory os :
Wy lb rss, 7
l Kheontbr
vet ©.
if . of G
¢. Fiyput! ed Aig Vos [etesifiin ounce th, |
Mrina wpe Tbsterdf ye dogg bere SE wa 7

Oslin @?. Maps i ( ote wd kn:

Gorm 4 MANE EE fiebte ty a Bk
2 , .

ei

f 93
Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 310

y

OL

eges Mb Clea Kiet & ka fe yp ;
tes bho Mics at b eeeet Lied, Z a
Lo Beale “ot, Grenectts Sofpnch caved.
etal fo the f 7h te ceil younr,

; tel acd Lee aye Cf fodl ual fer and tee
BACIA oft Ld tay fC. ee le flan. be COSOE# tetdnces
"Cesta Kb Lis of ban

Leguicee t Atta Fort Cbd deretl ae

; AL. fanliid yy th Adrered pn etl rece biyan. AAS
AF Ota Lb tf ff. frrtscuts ter p cect por tertienta/ a
tails achnorted, 2, fend ertgted ter tel « aut Berea’
beetel “Mes OE ba yecvtes Atha aged price 4 eeitleacan

fea 4 Lie dcrourt

vated fe (fea haw ereiel Cocugi
i, Hy ‘ith LOE ey geed wy. ee ouggan by the he tas
a hy Lidl ant logeatdtr tertef Lb vbs thee be for fy, be aadeat

&
. fe Sclesnotdeee, ait tl Abie eh bbe 4, dette
& sped CEL Ube, Evercics, CMM er ne ag

baud hei Al te fears
we Ch hh, 189 Of ait treied, At Leer drasianectlegout ad
hs iecure

foneenedl tthe or ancley FE 4 ditties, “tle tenes.
LOLA thet ont bare Spreads seat’ Lo deitef's

eww Bbiyead-l barca Seleca tt tA ee ety “gy ertuerle pelle ee.
AY God LIAL, Ati ares ete kd LA Le Ly ernest Leyad baer Mette
eats r €. decd Hhgeg tied tfas) fees teary ov Load,

Re Adie: Ct tn Xs Porte ebb hetlbicre,,
ety he Mer eg Knounvaa tha Wek fecuret Sliver Fook fate
Onrtter lire aff, “hee ¥ ie Sine Cente! ttt (804) Ch enrg 4 guarsv-or begs,” iz
SQ Libees: Ei tlutay, Atdecets tia Boz 2entdin Sornrnaget Gof bs whe tune

. Court Oarrayley hr Keyaet tte tea Lf tHe ace Hye, hots baer:
Coulodian Jibs wheuvsobus

f (+f 00} pita Berore ar brad, :
g ~Qisee Gast Set ea dtl ter p ott Srrrneades hee lbrenn -

foals Gcraya SEO Cocr ee be Aeusune eaLhee Hhineieng Keeee. Meet tii
f bred oertbheol é

LOU ApedrY BP feted
US eh, teneahig her Leetinu.

, Bow Pures Chgug, debgeals Maa She ve,

uty, O by ft, eitoonte ity 'f, / Meeaised feet Otte»:
Prt ig hin ve Fssiet (+foa) Chenta, | beter

CTY, by deed
b- Cte bleed L, Oy dihecerls att ¢ Mercere Mirth Surouates Aes tld
rorte Learareg Marans ttth 4 Buveune tty af 0, ¢ 2 te. th CAL FP Bre,
orclihivivg har

wetied west Atal, ly by gl aceved 2 /ft6 (piel ;
fake fave. V tr Added
ee Quee brered-t ray

4 a. tdecads hin Aicetitederen Sintrveate (bits ;
Moeety Layette Lunedn, Peuotutey a4 bt Vtcatiah Pubs ae

: Coutebnive Llores, ee fee amet Hei Mites corel Med x:
VeSie en ee woarteeg 7 Ws
. 8: Chrys. t Litted ~ “ihe Cuaog, MAC tt dott Lertaale. tna Simo,

Zoraveilp GL fescue wes Prtgune pe Lh Pete bak Ytes 1-H
1 Keoetey Cidtonpsing ty crete 79%, (M40 (bO~ O76, So Genes bardric ty Leeds
& Buy taki hy of. Stbegilr br tir Deawig tity eee

Page 32 of 93

Case 1:12-cv-01567-JKM Document12_ Filed 07/18/13

Mo Vo- uw tae feat tho iiwate cy Paste ho %
: macy KS fpiliat inn
rly: Coitet: tly yf Bal ye bid coerced Wii occ porn f
‘ hebee wr ta
us Pin An tthe fencoy ailect hia Pottery “setpdipe
Bout gy Garitay boas i Aton tre the d Millinte Pn
(nid Bibs Lh thee “heweibredl att Atikliin aul d Wilod (BIG sujeu)
Cheats, 4 vetbre uw dr bias,
Sr Que fuset thug Attiut tin develo Teroiaf, ye Lbeereer

Orth torgy ti. Atoute aa the Serial (YY, Ue fhe
Tie peg Lah ued 1G oa Of rc ogh oy Le

Crews ctl je Gf Abad LA, prices age
bere Gicceeah taste “A Wiittav das th heed ¢ Pipe
Annchah, Slew patel) I Giki nowy ,

if "uses:

Coote. tod: baw

s

et wFertes oT,
42x, 3 cone as Papier de ‘blac Feet} @

Spear

ba td. ae ltd arsel AG) bs Aetna E
Qed Hn arof Ala He SroiMeune ceensabas herb briusa
abl Booed hein

. spots ude ed “engin Meow aa tder Clradey

yon Mone, lg te, sail’ bey (202) heres Yerory gy, ted,
putas cbt Lof 2e heels don Laven inn. Seterahsts fh

a ginershyp, i ancgsfadie

beowius ad ths Gor serBhrcces Vat har tt:
fou CE viag “ee

é teeveedned crete Wf i teealEsm ey “a fia 'é
LY On rewetided t, Lee gy, Apres AD tit fi Pini Socsuafhg, te Letra

Mace G At beids itr gpie Led are mm  Crenled PUBL rete Bi
Cntlabene Ne Mies. Lteteretaced cegeef gly <p (i ai tatorver bn

oe ite 7 Ain ef, ‘ft (a0 of Atl ede Ad. “ Latha eet tread herbed |
. Oetractyy Atavus, Este. Aettecuns aa Lbee Girt Senna bet Porc |
Biting Shinde cteseednecl (800) cron, GblOrY Ay hay
LE Od fiel Lhenaf. tthvadte wy Levan me ohoruneades
erty, Leer tias ifr i, PH otens wd sf, Maria, Stag Gell
Cotediliviny B yo 4g fly d's fe neds CLeOHY oor Ltd,
202 Breer tial. Hinenf ditch sia Maerctens Soristatdanss, Airlluta ld §
tes «a Ceectestunuta, Storuste eda of, by K Kithernil Ginter Dae t- 4"

Carb ig he ted lecsvecheiet cecal Lond Dib (9/2) Ceres terory oy Lut
Lh: Otte Le per teneay tgat fet ae bd tc Corsrsaleayy, het bias

Moose ty te th VE Peed, me Argon. at 4. Ctetet ohh Wisflac Seah
Corrbad sy jy ite, | Peco trtted Ma etty, Bolen fyfled tdenta
Yi intros tod,

BD ace. daget Charieos ai t de Aranolans Sregushigs

Ky ff edarit  Oureree Stites Creede wees tos Lhe Aviary.
ne

shearetr Pap (oie tts betatatricd crted fad
ot W eensa, bectoke Z. ‘7 few

Oi Cu te action fa abe wricde ana, Scpeuahey
La tf Cre. ote boon te 7 hows “y Le
I

Latte, , teucerenteg CE. toad. Kerk
4 wel Coulee Ler ofa tcheeed 42°) Qents, Vatory by La
fbi Gece brag. Ad ig A
wah dag

Heel lb tele
Catt bon te, mereey C

Case 1:12-cv-01567-JKM Document1i2 Filed 07/18/13 Page 33 of 93

sir eh (4

eturarts AAA gf
tun adaya Liao), doug peeve

et tak Aaa petolanns Votuabchy jets us
ounia, fare ud d Lid 24 PPE
ole foe C/O) gente, Belge cole Missa
A. iverte the Prrviuclans tesa
rah x et lonypai AAA, (ad thee
Taine boon cei Qed.

Altai rei Louvres
Poe. boot mcd sete
Out Gae flantl tele vous i ;
fee fo as roduc eid

Bae ver Led
Eig tigi ingens fd Basti ound

2% Dru. byaek
Heplacna fe

hg

ae,

éthg Maan av Lead,

Sou
pi ae thee ait. Pearrcedssss forested it

LL MAdto Oe Wiethrcas. .

eh Coatedoa fh Tos Pesarechnerd trated fe bY ana ugea,

Otte ‘Adar or
8: Ore b 2 hig AR Eben de HA fe archaeon Gel full

| . " jecagleg beating a Ef Wary
tna hou Partcobrud A arse Cady fol free (184) chen Wir.

Age ee bigot: ies Ae 1 ti uly Avy Du rete al
CAL 4a tn
Pitt

Play Arta ed ,
pega je posse dal A “i tue» ae ie ,
Been ye am sy pho Liattabvask teal ney (AE,

bi At, og ad eal Sclicady "ht ou ened aana Lo

buna
a tg EF

s tins © Phriats 44 &
. (241) Qete. Sm a hen, whe sted

ar On: Lt £
hi ler iio Ironic ppd
intatiiaag | Soran + anctnol (H09) Derg.

dd,
Hb Pie frat kbviny Ai Coun
ial LonAMebxet is i

ayy oy

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 34 of 93

Vv

Merten Aarts. ty Le : a VWALa . -
fr dla bate Cussel cosoupuah henge seins Hesdesda art ban
Fo LE i be peg Poh oe ni AO
vad WR C40 Adit Uneaten Sox ; ant Wwe ip di
Jeni eile peat
secspri 38. Of died nga. eli fae Fa
pee OSL, Le ee LL each tee es Tee

Aigior cnoriactin! decal pep ih tee Newrrecina Cuted mode
af Und akem ole the sotat phe Lie rot reel

ly Vee naaed lesa. . ~ De da untadsbor
tha ‘eral ‘fondant fehati oul both Ans, han, fiat bei
A cuted tg uecven sel hartterel bb, je
| cuted ir drotd Aue ' * {feel hing Ki LY

tif ferwrtticcrantes lawctocebt MMA AEN ORE patch AK vaguah
hee ack eed. -f

, tls Acesed nhs em fev Att pasts At aad

- frie, Fy pagite opel bLtud veda at Deeg hn tr bor f

A tatigass
Kaw deintuscti- Aig thus if A AAA frevtteg 1g thes. pint ot
tk ab he curol Atets thea! atenne |
4 wey dvrtbtea , biguc, Seabed aud ols Seow fed apo

GORE | Bike .
Comuuby wg ayer) oy

pe bova ton sis fei pantaati that inn has ao4h clay

A durol

4 .
dey set

Case 1:12-cv-01567-JKM Document 12

Vyorset, ured SL bane

Filed 07/18/13

forts

Page 35 of

93

. we
100

4. ddgfiaed beatiel

“;

- tds, ( Lene A rib iicliine ceed eit chated
’ on . fi ile hee 4 a Chg Rhy COVE dr Cook ute tatiana tur dba
Ts I cod tole heey Cured slo bape yn tint dau teed Tesleilt
. 4, . Veda?
oan: Reco ss 13,1998, A snp aha

eg

* 3
‘ x
yooae
eee,

Sed. weld Proce, yaa

+t bow

a har,

i, “Unb lye of WAnase
Adbces AES gue A fas

jae touprelincthiny bic diunwe

ve be AE ae tad Yantes i Le

ae fond
Oat qusttelrodtcl ai maid Crne! ay L

eee if ( eine

1} VAAgAs (heovdber

/ vos lal tebe, enki, T Orritix cui Lpunllos 6
end

in fo, a
vet wt UO) i ee oO riser. Lat ot Lhe Coty oF &

‘4 bees Mauctid Late fle a eared

anal te tartare bie,

op ph.

pets

7
te atch ta Wd, ve MAnkinn tite raed Lt
SL ted, Fig OF:

% limbs,

At Pie Vi tw Arye 9 Peek iA,

Ul teatinn id seg wih wo tg. bd adres
eo Krew ° ad dares VA tle Lip, 7, tty, FE rig

urd wa

a triedhs, cliceasied Cursed pon

. . AS ,
. " The Docu a Meonrsy, Augauaily, a #3 wr
. © . ib 4, 8 MONG Latte. favlua bf hte.

uth dete Of dita fviad-. jfantl tr ude

Be ar Aetlonr di CREE dress
tin, bn jotatans Cored andl habs
Y ae etdtund ybeuul a ¥ uted
vio wif i thens Ce’ ‘ scvvvey ’p a Li frritete Ape teste} LQ
‘aud # is et a maa ia
erry Gael Cheering tule hee, haces % tucbera Be Tn
uae viv Hhadareliin,vieting tartol edtrding, wa Like
Me Cute atirsads, Es atts Unclh tice 4 4
fey ins ila oP
air oF Shirin &¢

ee en ee Lek

oe Ut

at

v4

#

y

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 36 of 93

EXHIBIT E

Case 1:12-cv-01567-JKM Documenti2_ Filed 07/18/13

BRADFORD COUNTY RECORDER OF DEEDS
REGISTER OF WILLS
CLERK OF ORPHANS' COURT

SHIRLEY ROCKETELLER - RECORDER
301 MAIN STREET as

CINDY BLOKZYL - CHIEF DEPUTY.

Instrument Number - 200927573

Recorded On 12/9/2009 At 2:02:00 PM * Total Pages - 12

*Justrument Type - AFFIDAVIT
Invoice Number - 265967
* Grantor - HOCHBERG, ANN P
* Grantee - PROCTOR HIIRS TRUST
* Customer - ADKINS & ASSOCIATES LAND SERVICES

TOWANDA, PA 18848 - eee

Bap a ep sit fap ™

Page 37 of 93 .

EXHIBIT E

* FERS

STATE WRIT TAX

PIN CHRIIPICATIONS
RECORDING FEES -
RECORDER OF DEEDS
COUNTY ARCHIVES FEE
ROD ARCHIVES FEE
TOTAL PAID

$0.50 This is a certification page
$5.00
918.50 DO NOT DETACH
$2.00 . . a
$3.00 This page is now part
$24.00 of this legal document.
RETURN DOCUMENT TO:
ADKINS & ASSOCIATES LAND SERVICES
1021 MAJESTIC ST
SUITE 330
LEXINGTON, KY 40543

ATTN: JUDE ADKINS CASALINO

I hereby CERTIFY that this document
recorded in the Recorder's Office of
Bradford County, Pennaylvania.

aH
et ty,

soe OF i,
ki @)) Monde fbet filer,
a aS RECORDER OF DEEDS

sone ea Register of Wills
™ Clerk of Orphans Court

* . Hiformation denoted ry anastertst tay change ducing
the verification process and may not he reflected on this page.

01628.

TT

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 38 of 93

Afo fofketapeh fxs 2O~f
# g9.;/9¢~7/)

AFEIDAVIT OF HEIRSHIP

The undersigned, Ann P, Hochberg, Esq., deposes and says that the following
information is true and correct to the best of her knowledge, information and belief:

1. Yam an attorney and partner of the law firm of Broude & Hochberg, L.L,P.,
73 Federal Street, Boston, MA 02110 (“B&H”) and have been a member in good
standing of the Bar of the Commonwealth of Massachusetts since 1988,

2. Attorneys at the firm of B&IT have acted as counsel for over six decades for several
memibers of the family descending from Thomas Emerson Proctor, Sr, of Boston,
Massachusetts, and as Trust counsel on various family trasts. The firm of B&H has
assembled information regarding the Proctor family lineage described below.

3. Thomas Emerson Proctor, Sy, died testate and a resident of Boston, Massachusetts on
or about December 7, 1894. Prior to his death, he acquired and yeserved certain
mineral interest in lands in the Commonwealth of Pennsylvania. He was survived by
lls widow, Emma Howe Proctor and four children: James Howe Proctor, Anne Steele
Proctor Rice, Emily Waters Prootor Mandell, and Thomas Emerson Proctor, Jr.

4, James Howe Proctor died testate In 1946, survived by four children: Thomas Emerson
Proctor; II, John Riker Proctor, Maty Jackson Proctor Shiverick Case, Esther B.
Proctor, his daughter Martha Moore Proctor having predeceased him without issue.

a, Thomas Emerson Proctor, II, died testate in 1973 , leaving his wife
Margaret O.F, Proctor and no issue,

b. John Riker Proctor died testate in 1969, leaving. his wife, Anne Hall Proctor,
and two children Maitina Riker Proctor and James Howe Proctor, If, His son
Junies Howe Proctor, II predeceased him in 1942, leaving no issue, Mattina
Riket Proctor died testate tn 2005, leaving no issue,

th Maty Jackson Proctor Shiverick Case died testate in 1984, survived by five
children: Bsther Shiverick, Nathan Crary Shiverick, Mary Abjgall Shiverick,
James H. Case and Elizabeth C, Case, Nathan Crary Shiveriek dled testate in
1996 Ieaving no issuo, Esther Shiverick Yntema died testate in 2007 leaving two
children: Mary Yatema and Elizabeth Yntema.

dl. Esther B, Proctor died tesiate in 1986, leaving no issue,

5, Anne Steele Proctor Rice died testate in 1933 survived by three children: Hilda Proctor
Rice Ayer, Neil Woodbury Rice, and Thomas Einerson Proctor Rice.

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 39 of 93

Affidavit of Heirship

Proctor Holes

a,

Hilda Proctor Rice Ayer died testate in 1978 survived by four children: Anme
Proctor Ayer MacNichol, Ethan Ayer, Hilda Rice Ayer Curtis, and Neil Rice
Ayer, Ter son Frederick Ayer, Jr, predeceased her in 1974, leaving two
children: Ruth Zeile Ayer Dougher and David Ayer, his son Frederick Ayer HL
having predeceased him in 1972. Her son Neil Rice Ayer died in 1990,
survived by Helen Ayer, who died in 1999, Nell Rice Ayer, Jr., Anne Proctor
Ayer and Richard Randolph Churchill Ayer. [er daughter Hilda Rice Ayer
Curtis Anderson died in 2008, survived by John Spaulding King, Claudia Ayer
King, Timothy Parker King and Danie! Scott Curtis.

b. Neil Woodbury Rice died testate in 1969, having married Emma Howe Mandell

&

Rice, 4 cousin, leaving thres children; Charles Goodlenow Rice 1, Emily Proctor
Rice Scott, and Anne Proctor Rice Berntsen.

i, Emily Proctor Rice Scott died testate in 1987 leaving four
children: Emma Scott, Henry Bruce Stott, Mary Adams
neott, and George Gordon Scott.

ii, Charles Goodenow Rice II died testate in 2007, leaving two

, children, Lily 8, Rice Hsia and Neil W, Rice II, having been
predeceased by his son Charles G, Rice WI.

Thomas Emerson Proctor Rice died testate in 1978, leaving four
children; Thomas Emerson Proctor Rice, Jr., Lyman Rice, Emery yan
Daell Rive, and Seth Ricé, Lyman Rice died in 1991 survived by one
child, Jane Patricia Rice.

Emily Waters Proctor Mandell died estate in 1944, predeceased by sons Samnel

Pierce Mandell and James Prostor Matdell, neither of whom left issue, and
survived by childyen Emma Howe Mandell Rice and Thomas Proctor Mandell,

a.

bh

Emma Howe Mandell Rice died testate in 1985 leaying the ahove
referenced children Charles Goodenaw Rice If, Emily Proctor Rice
Scott, and Anne Proctor Rice Berntsen.

Thomas Proctor Mandell died in an accident in 1947 with his two
children Anne Mandell and Harriet C, Mandell, who left no issue, He is
survived by his daughter Geraldine Mandell Cralg.

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 40 of 93

Alfidavit of Heirsiip
Proctor Gelrs

7,

County of Suffolk

Thomas Emerson Proctor, Jr, died in 1949 without isswe, In hls will, fe
distributed his own property and exercised the power of appointment granted to
him under the will of his father, His estate included a one-fourth (1/4) interest
in the minerals owned by his father Thomas Emerson Proctor, St. The terms of
the testamentary trust of Thomas E. Proctor, Jr, were the subject of court action
in the Supreme Judicial Court and Probate Court of Massachusetts, See
Hochberg vy. Proctor, 805 N.E.2¢ 979 (Mass, 2004). ‘The Supreme Judicial
Court of Massachusetts ruled that the trust was to terminate upon the death of
the great-granddaughter of Thomas B, Proctor Sr., Mattina 8, Proctog.
Thereupon, trust assets were to be paid ont to the heirs at law of Thomas E,
Proctor Jr,, determined as of May 31, 1999, inthe proportions specified bya
judgment after rescript dated December 20, 2004, which confirmed an earlier
judgment dated June 7, 2002, and amended July 9, 2002 issued by Suffolk
Probate and Family Court. Accordingly, after the death of Mattina R. Proctor
in 2003, the one-fourth interest it minerals passed to Thomas EB. Practor, Ir,
were distributed to his heits in the proportions specified in Exhibit “A”;

A majority of the heirs of Thomas EB. Proctor Sr, conveyed thelr mineral
interests in Pennsylvania derived from Thomas BE. Proctor Sr. to the Thoms E.
Proctor Heirs Trust under Declaration of Trust dated October 28, 1980, which
is recorded in various counties in Pennsylvania.

. . nr
Signed under the pains and penalties of perjury this 2 day of December, 2009,

Ati P, Hochberg < )
COMMONWEALTH OF MASSACHUSETTS

are
Qn thisd day of December, 2009, before me, the undersigned notary pubile,

personally appeared ANN P, HOCHBERG, proved to me through satisfactory evidence

of identification, which was flrson ad Kosutedee. , ta be the person
whose name ts signed on the preceding document, and acknowledged io me that she

Signed it voluntarily for its stated purpose,

Tn witness hereof, I hereunto set my hang ane ffictal seal.
No ndats Lr ano ves
Notary Public
My commission expires: 4 | tz}ze iq

Case 1:12-cv-01567-JKM Documenti2_ Filed 07/18/13

Exhibit "A" to that A£Zidavit of

Page 41 of 93

Ann Hochberg dated Daceamber 3, 2009 tAN2 104
COMMONWEALTH OF MASSACHUSETTS
THE TAIAL COURT
Surrote Owvision PROBATE AND PANY COURT

DEPARYMENT
' Wo, OOEOOTS

ime

AWIN &. HOcHers end BOSTON SAFE Drpnsir
AND THUST COMPANY. ae Trustaaa undar tie
wl of Thomss &. Practer, Jy, :

}
}
j
}
.
, o™ " " Bhatnrifts r
: )

Ve . }

)

}

}

}
1,

MATTINA PROCTOR, at pl,

DEFENoaNTs

JUDGMENT AFTER RESCHIPT

This matter care un for entry of judgment following rexscript from the
Supreme Judiciat Court dated April 8, 2004, whareupon, an constderation

‘theraof, ttis ordered that the Trustees under the will of Thomas &,

Jr, afe to make dlatibution Of the sssets as falluws:

Praptor,

1. The life estates in the parapraph THIRD and FIFTH trusta, having
- teroinated under the terms of paragraph ELEVENTH on May 31,
1958, the camaindare of sald trusts are added, as af that date, to
the residuary trust of Thomas, Jr's , éatate craakad by paragraph
= #

FIFTEENTH,

2. Pursuent to the Court's aunhodty under G.L. 0.184 A 5 816) the
Article FIFTEENTH Trust under restetor Thomas &. Prostar, Jr's,
will ig reformed to comport with his Intandad disteibution ap
manifested by his wil and cadiclls therate ond accordingly, the Ute
estate Undar Ariele FIFTEENTH shel cantinus In elfact un the
death of Menina Proctor, and upon her death the remainder af said
trust is to ba distebuted gutright to the then living heirs of Thames

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 42 of 93

E, Prowtor, Jr, as of May 31, 1998, if negordance with Paragtaph
3 of this judgment. .

3, The helre at law ax of May 31, 1899, and thelr Proportonal interest
in the assatg ares

1/17 Matting Riker Proctor
-Té17 Esther Shiverlot Yrrema
W417 Mary Abigail Shiverick Morss
117 James M. Cause

V1? Bllzabeth C, Case

T/A4, Fluth Zalla Ayar Qougher:
1734 David Ayer

1/34 Edward Ford MacNtchol I
1/84 Anne MacNlcho! Brownell
1/17 Hilde Ales Ayer Curd
1/81 Nel Rice Ayer, Jr,

1787 Anne Proctor Ayer

1/81 Richard Rendolah Churchitt Ayer
THT Charles Goodanew Rlve ti
1/68 Emma Saatt Holey

1/88 Hanry Bruce Scott

1/68 Mary Adams Stott _

T/GB Gaorge Gordon Scott

(/17 Anne Proptar Rice Berntsen
W/t7 Thomas &.P, file, Jr,

Vt? Jans Patricia Alea

Vi? Ernety Van Daall Aine -
1/17 Seth Aloe

Wi7 Geraldina Mandell Cralg

4. Trustees, Defendame and Guardians od titam sve to be allowed thelr
reaeoneble counsel fees, Inctucding coute und expanses, in thle
proaasding, subjagt to thé approval of the Court. Counsel and
Guerdiaga ad item shall rnest and confar to determine If an
agreement can be reached on the raasonabls fees vad eosts for tho
reapentive parties; in elthar cosa tha matter stall be submitted for
approval by the Court,

+
. #, j . us
CRE eee ty Sean “ethene”
Decembor 20, 704 dieu OCT 1 5 AY _Pmba! ee M, Moda y a
‘ nO Judge of Probule & Family Court

ropy, Certified:
tl Somll.

Tegiater

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 43 of 93

EXHIBYT #

*

COMMONWEALTH OP MASSACHUSETTS

SUFFOLK, $9. PROBATE AND FAMILY COURT
DOCKET NO, oonta7o

_ ALVIN 8, HOCHBERG ant

. BOSTON SAFE DEPOSTT AND

TRUST COMPANY, ay Trustess

under the will oF Thomas B, Frootor Jr.
' » PLAINFIBTS ... . to a+

“

MATTINA PROCTOR ET AL
. DETENDANTS

AMENDED JUDGMENT

Trostees wither the will of Thomus 8. Frocior Jr, urate Teake distri butfon of the nssetls as follows:

1, Ti life estate uindor Aptietes Thin and ¥illh having tenmduntad
! Y ! Su by the terns oF Arica Hyon,
Ag Of May 31, 1959. ths ronalnders of ant (rusts tre to ba distributed outdpht to the than living hetts of Thomas
5, Paxitor Ir, a of that date fn accotdana with Pitageeph four ofthis kulgment.  “

2, Any dlstribution pald to Mattinn Proctor after May 31, 1999 unter Aniictes Thind and Fifth is -
to be set off apuins! her remainder interest fn those trusts ane to the axtedt the value of her remointter Interest ts
Insuffintene Zor purpaies of netof® the differenca is to be Filrbursed! by hey ts the (rustens,

3, Pursitint to tha Court's authority under O.L. & IMA 5 et the Acdols Fiftecnth Trust anlar
testator Thomas E. Proctor Jr.'s will ts reformed {x comport wilh his rete disie/bution ay manifested -by iis
will sad cactioils terete and Botordingly, the is ents under Anicte Fifteeoth shall continue In effect until the
death of Matton Proctor, and upon ber death tha remafndes of sald tnistis to be distelfuted Ouiright to the heirs
af Thomas E, Peocior Jr, detecmined as of May 41, 1999, In secardance-with Panigraph four of this judgawint,

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 44 of 93

4, The heles at Jaw as af May 31, 1990 and thelr Hrepurtlonal Interest jn dhe asgets are:

17 Masting Riker Peveoty
V1? sther Shiverlck Virema

1417 Mary Abigail Shivadnk Morse
V7 lames H. Caea

q/A7 Ellzabeth C, Casa

N34 Roth Zell Ayer Dougher

1/34 David Ayer

1/24 Edward Ford MauNichol YH

1/34 Anne MaoNlahol Bravnell

1/97 Hilda Wes Ayer Curtls

/31 Nell Aice Ayor Ir,

1/51 Anne Procior Ayer

1A) Richard Randolph Churcht{i Ayer
H17 Charles Qundanaw Rice iT ——
1/88 Bema Seoit Homes

6s Hanry Boies Acost

HGR Mary Adanse Scott

1/48 George Gordon Scott

1/17 Anns Proctor Rice Berntsen

WL} Thornas BP, Rice Jy,

T/Y7 Jone Pattoa Rica

WT Eonry Von Daell Rice

WF Seth Rica

17 Geraldine Mandell Craly

5. Trustees, Daferdaate and Guprd}ans od litem ava ta ba allowed thelr reasonable counsel fray,
lnoluding cosia and mxpenges, jr thls proceeding, subject to the aynroval of the Court, Counsel and Guantiaus ad

respecilva parties: in alther cass the matier shall ba submitted for aunroyat hy the Court on Joly 1, 20028112
pam, .

duly 9, 2002
mune pre tune Ta MM, Morlarty
ding, 7, 2002 Justice nf Probate and Family Cour,

guitotiog HET 20 2007. peeatmon
ra napy, Gertltiods

Thea

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 45 of 93

LYNE, WOODWORTH & EVARTS LLP
FEGERAL Heseave PLAXA
GOO ATLANTIC AVENUE
BOSTON, MASSACHISETTS ORato
TRLEPHONE IMTH] Hommage

MIT) Radanasy
tty) KAR OY

DOMENED By, Altus . BAL aiotitis pen,

Wet!

Aughak 12, 2005

Pamala Casey ‘O'Aedien, Register: , .
EZSSox Probate and Pamily Court

36 Faderal Straat

Salen, HA 01570

Ra: ‘Prnst wider Paragraph 3 of the Will of Thomas B. proctor
Court Wo, 226909H

‘Dear Regtater Casey O'Brien,

Appointiient of Sanaa ad item and abrachad Repork, Ag
lotiver 9 need for 9 Guardian ad Litem with regard to the Aggqourths
wider Paragraph Third of the Trusk. The coungel for the frustaas
and Wndige Hordarby agrerd with this view at a Aeariny held today
at the suffolk brobate snd Familiy Court.
Wleane do not hesitate to call with any questions.
Vary truly yours,

LYNE, WOODWORITE & EVanttg LLY

wy ecson f°! Behl

Dahende BE, Aiello

DPA /nuy
Ene loyure ooT is Phong SrabasBeurt
mg, Viteing M. Hoxdarty, Assoctate aust. co meee (Batey, *

Attorney ann BP, Hoghbarg 1 Atteat: ‘

‘Tames H. MoNulty, ox., Ragtire A true cng. Attest:

vohn PF. Fulgdindti, rsqutve . 72 he }

* let eee et to

Hi\OFA erator Gen log inten LF eed

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 46 of 93

po Cotnmonwealth of Massechusa
Tha Trig] Court is oe

=~ Haeee Division Probate and Far! Copp a2eoney
y upartment Dookat Np.

. inthe Matter of
' Erogtor, Thomun Z, . :
AMENDED = Appointment af Guardian ad Litem

Whereas fn the Matter of, irustene third end final Agceunk and che Eivat to plepk
it BND EAry that atid fine] Hcemmets, ineduaiva, UW/Plaxr I. Tae
: k x Frag.

rt are “tet eteeannctesseaelnnihiehwnowanajman teen
fn thls CaS2, thensfarg Domenic Bb. MeI TE. yy: et ito Yaateoneh, & FARES, ae 2210
FE sp * rt ety

In the County yi Buifolk "sThareby npprinted to accas qusnitan id Seta fiona

fer such person(s} to myesgye tbo— ae — their internists in gate can,

‘a Gurdon ad lee shal iam pote by te ts _ tn we
- — Ya Commenaaany of Vaesachupatte, hours sre arthoairad

“aii anve ic 7aeyas nee hy Witeassery,
Dare, Apri2 12, 2003 ‘a, (Oe ene re i at

53, oe
I horehy exept ine above aopotumen "FETE RARE ee

Pam aap ees sa wae 7/0) Lunesta i sect Aestlotal toourt
. E Hee Rule 1707,
Fecuret ewe gees ne ent BAY Bevtes on Beccnt oF ts at re | ver dtha
el xm ation wi mis fo ae aa a 24 vi sho fea rspurie hy thax wules tor payments mace

{Pik Sommonwearry PAD ORLY) | gekrrste-cn Tecelpk ef Fiscal Year weF Meme dtd f
‘Mtninlstratien ang Manoaenent aie the Tenicse OF Semete Fraga gre testruesiunp. AN OP te Cia sct far

i ! .
Bement Danan 72: ial
ata oO
Sf ae ir more
Penig BpRearay tik shove ngntod Dane n pe. EE Net. ated sda oath

ly
trar persia fell ly ane ii peareaty derlemthe guy Aipesed et hn pile fomgong appeiniment,

“Hating tpi cou er RRR DE Please aon iktaubeg Renore of Sugrdirn mt

idtem davateining that they od Xora. Guardian af Tse to eoviuy
Dtetaachoe oR AUTEY, FR COSREGS Gane oe
fuffolk Probate tind Famiiy Court, ™
por as
‘} a "
. s ‘ ‘ = " )
e . , 4 fe Er ? 1
Dale Auguatia, 2005 0; wre ( adh a
= rhe 7 Gary 3 CEM THES} eee

~ a
woF

Po to Tey

Filed 07/18/13 Page 47 of 93

Case 1:12-cv-01567-JKM Document 12

COMMODIVEALTH OF MASSACHUSETTS

SUPFOLK, 88, PROBATE AND FAMILY Coun?
DOCKET NO, doEQN79

{

ALVIN &, HOCHBRRG and i

BOSTON 8AFR DRtOSIT AND a

TRUST COMPANY, as Trastons
witer the will of Thontey E. Protos Jr,
PLAINTIFFS

wrive

Vv,

MATTINA PROCTOR ETAL
DESENDAMTS

JUpOMEeRT

This mattar omen for heaving on an agreed stolement of facts aud Issucy of law and, ser
arpinait of vounsel, consideration of tha Pleadings and memoria syd applicable Inv, itis onlered thatthe -
‘Teustecs wader the will of Thomas 8, Proctor Jr, ned ie teks dlsttibudou ofthe angele ag allows:

I, The lift estate unilar Axiiclex Third and FIR having terminated by ihe terms of Artiols Blevey
68 Of Muy 31, 1909, the rematnders of paid frugig ort io ba diseibused uutyight to the than living belrg of Thomas
2. Proctor Jr ey ofthat daty in secorlanoe with Pardgraph four of this judgment,

2, Any dstribwion paid to Mnitina Proctor after Niny 31, 1999 index Artiolas Thied ond Tifth fs
to be sot off agafiat her remainder Intorust in those trusts and io ihe ontoat tha value of bay nimeincer Intaceat is
{renffiotem for puipuses of sstogf, the differenes ig 10 be reimbursed by her wo the truemes,

4, Pummuant to Hin Court's authority
testator Thomas #. Peontoe Jey will is reformed to
will and codicil thereto and accordingly,

dvath of Matting Proctor, ad ipon her death the nunsinder of suid trust

Hving heiva of Thomas B. Prooter Jr,

the Hfe estate undor Article Fifteenth shall contiows In ¢!

ac of fay 31,

Witter HL. t, MAA 3 6(b} the Article Bi@eamh Trust uber

coniport with lis intended dintributian og manifssted by his
‘Got Ltt] the
$5 to ba distributed outright to the than

1999, ti agcopdance with panigmph four of this judgment

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 48 of 93

4, The hela at few ag of May 31, 1999 and thelr proportional] Intevast in the assets aver

1/17 Mutting Riker Preeote
117 Bethe Shiveriel: Ynterna
W17 Maty Abjgni| Shivertek Moyes
1? Yomex Hy, Case
V/7 Elizabeth C, Case
1/34 Ruth Zelfe Ayer Dougher
1/34 David Ayer
143d Edward Ford Machichel
1/34 Aone MagNichol Brownell
1/17 Hilda Rize Ayor Curtls
1/31 Nail Rine Aver Jr,
151 Anne Pronto Ayer
1/31 Richart Randolph Churehil} Ayer “
V7 Chintes Goodonaw Rive I
1/68 Bmina Séott Hontes * we ’ we
M64 Honty Brave Sect
168 Mary Adatos Scatt
1/68 Geenze Gordon Suntt
1/17 Ante Fronior Rice Bemtsan
V17 Thomng BLP. Rie Jr
VU7 Jane Patricn Hes
1/17 Exnery Yen Daoll Rite .
. HT Seth Rice .
1/07 Geraldine Mandell Crig

3. Trustees, Defiudants and Ciuardinns ad Jitem are to by ollowed their reasonable connse! fees,
insluding neste and expenses, iit dhis prodeding, subject to the approval of tls Court. Counsed und Goardians ad
Miter shall meet and confer to determine ff'an agcesntent can be reached fn the reasonable fous and costa dor tha
fespeotive parties) in elttier cage the hatter shall he submited For approval by tha Coust on July |, 2002 et 12

pu,
- a , a Dane
. Wie
Jugs 7, 2002 tet pete"
, Flaine M, Moriarty f
fudge of Probate and Family Court
GGT 4 a 24

BHO 9-9 ne

4 aul Certified

Teptaber

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 49 of 93

Eee:

ie
PERU ENTE
ye
SAR Te FET AVA EARL

: Seon nae

neieape en OOS Gaye
| RSE aa

I, James H, Proctor, of pswich, Egsex County,
Hagsachusetts, declare this to be my last will hereby

revoklig all wills heretofore made by mie.

itreNaeens 4 TD pide: and -hequeahh abt ny property of eveny
name and nature including ali property over whieh I shail

possess any power of appointment by my will as follows;

EXIRST; I give ane devise to ny daughter, Esther
B. Prooter, the lana and buildings sltuated partly in the
Town of Ipswich and partly in the Town of Hamiiton and now
occupied by ne as a residence, together with all my house-
‘hold funiture and furnishings, clothing, jewelry, books,
brio-a-brac, silver, pictures, automobilas, horses, cattle,

and all other tangible personal property,

SECOND: I giva and devise to my daughter, gsther
By Proctor, all my vight, title and interest in and to the
real estate situated in West Gloucester whieh I recetyed

from the estates of my wife and my daughter, Martha R. Preston,

THIRD: T give the sum of Pwo Thousand Dollars

($2,000) to each of the following persons who have long heen
in my employ: James W, Brown, Patrick Warren, and George

A, Comeau, all of said Tpswiehj Edward MeNamara, of Boston;
firs, Kenneth W, Gillies and Urs. James W. Low, both of

IR | et ey ite

Beverly,

FOURTHY I give the sum of Two Thousand Dollars
($2,000) to each of the following-named persons! Guy H.

Sargeant, of Winchester, and Perey J. Young, of Nawtone
po

r we S
“ fee ao- Be gg §
seu HS Be = 8
BES ENSS ae a gf
Bog OF Goad #
ae 4 a 54 8 = He
. ~ pe B. PRR wg Bie BBs Pie beret cutie bette we ate
Shes baa Ore EBS sg
Baa" #4 rt wu a
Byes ga B is 5
wei 8 mig wb

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 50 of 93

NTETH: I give the sum of Five Thousand Dollars
($5,000) to the New England Deaconess Hospital, of Boston,
for its general uses and purposes, I make. this gift py
reason of my atfoationate regard for Eliott Proctor Joslin,
whose interest in sald hospital has continued for very many

years,

SIXTH All the rest, yesldue and remainder of
said property t give and devise to those of ny children who
shall survive me and the issue who shall survive ina of any
child of mine who shall have predeceased mie, shildven of mine
to take equally and issue of a deceased child to take by right
of representation the share auch decaased child would have
taken Af surviving me; provided however, that 4f my gon, John
R. Proctor, shall surviye ma, I give and devise his share to
the trustees hereinafter named, da trust, to hold, manage,
invest and reinvest the game ag followss
(a) fo pay to or expend for the benefit of my son,
John R. Proctor, during hie lifetime the net annual tn-
come from auch share quarter-yearly, or oftener in the
discretion of the trustees,
(b) Upon the decease of my sala son,’ ov upon my
decease, 1f I shall survive him, the trustees shall .
tensfer, pay over and convey the-trust estate, free front

frust, to the. eae Maing, Agape of Ty said son, such.

f ee FS

‘ issue “to bake by right of representation, and in default

?
:

of such issue, shall transtfian, pay over and convey the
trust estate to my then diving issue, such issue to take

by vight of representation,

nt 12
Case 1:12-cv-01567-JKM Docume

fa

Filed 07/18/13

No interess of any benofiedary hereunder shall
be assigned, transferred, encunbered ox alienated by any
Such "benef iciany, and no such interest Shall be reached
by any 9reditor or pg attached by virtue of any legal,
emuLtable oF baneuntoy Broceedings, ,

LY direct that atz estate, Suecession, Legacy,
inheri taneg or transfep taxes, howeyar designated, that
Shall be levied Upon OY against my estate, on levied upon

or with Fespect to the broceads of any pollotes of lnsurange

OF privata Salo, upon Such terms ang for such sum oY sung

28 thay may daen wise, and to execute, acknowledge and de-.
liver such deeds ov other instruments a6 thay may deen
necessary oy Proper, eng nO purchaser shail, be unden obliga.
tion to see to the ®8pplleation of the purchase money; ta
adgurtg: by arbitration ov--compromtze any denands in Paver

of oF against mY Said estate won such terms as to them

shall. seem best ana their deciston shall bs final,

The trustees shall. have power, dn thety wuicontrolled

Page 51 of 93

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 52 of 93

discretion, to sell for reinvestment, distribution or other
purposes of the trust all or any part of the trust property
at public auction or private sale and no purchaser shall be
pound to sea to the application of the puuchase moneys to

CON nee rp R Apa ERA FERGIE COD SILT ONE a SE RR EERIE EES
mortgage, pledge or laase, whether oz not extending “beyond

Bates,

the texm of the trust, any property of which the trust
estate may consist; to exchange proporty for other property}
to detarmine a1 questions arising between peinolpal and
ancoms and any such determination shall be final and binding
upon all persons then or thereafter interested, hereunder; to
receive and retain as long as the trustees shall see fit any
property owned by: me at my decease even though the same be
an improper trust investment and even though the same is in
“arger amounts than a trustee might be authorized to hold in
-& single fund; and generally te take any aotion which thse

, trustees may deen to be for the best interest of the trust,

. Rach trustee shall be liable only for his or its
own wilful default,

The word ‘trustegs!' as used in this will shall he
taken to mean the trustee or trustees for the tine being

whether orlginal or substituted,

I appolnt my gon, Thomas H. Proctor, Rnd, and

Boston Safe Deposit and Tryst Gon A gorna athon. a Lo
RR a GS Pas aa ee arriorasn ieee eh Mad iets oe poten, duke -
pe Se, eg aioee anand existing vader the Lews' of ‘the. ‘Commonwealth

of Hassachugetts and having a usual place of business in
Boston, Suffolk County, Massachusetts, to he the executors
of this will, and I direct that each of them and any

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 53 of 93

adwinistrator with the will, annexed be exempt fron furnishing
surety on the official pond,

I appoint my son, Jom rR, Procter, and said Boston
Bafe Deposit and Trust Company to be the trustaes under this
will, and I divect that each of thom and any successor
trustee be axempt fron furnishing surety on the official

bond,

TH WITNRSS WHEREOF £ herato set my hand and seal
this 2.2 day of March, 1948,

Blgned, sealed, published and declared by James H,
Proctor as and for his last will in the presence of us who,
at his request, in bis presence and in the presence of gaoh
other, hereto subsoribe our names as witnesses on the day

and year just above mentioned,

ceed Rae Beddoes . “Rabe Le aes.

Mererao Ph, tak Bhs beeen,

ALES

!
|

!
I
t
|

wp PROBATE COURT

RSGKK, 8S S423"
wits, Proven Je-+. 2 a, 194t ATIBS! a REGISTER

RENE CT CT PT BASSES RERUN Ao EG

NE Wty me ene ny

veel] Ls TRAM Te ER

wet tee

Case 1:12-cv-01567-JKM Document12_ Filed 07/18/13 Page 54 of 93

| ES] , . & e
' ra : COMMONWEALTH OF MASSACHUSETTS
. _ Essex, 58. PROBATE COURT
Tua .Ashand Binal Account ov . THOMAS. Fa. PRAQHOR.. -2ndi and
BOSTON SOE DEPOSUR AND TRUST COMPANY: os been
"Mn SLEO sec ceeceeeecceseeeneecete cece eee, obthe-estate ve Sbantatnen stage terersatecescen ste yrenence
Texccutonel.... of the willk—of oo JAMS Fa PROOTOR™ _ -
worerenes esnacac tan gacyscerventnet ene puvtas grvsenoree entscicrennyette vasecacnseavevivestsuascidsasumevesestasacatsecanesssseessenseesees late of
Ipavion" os . __ in sald County of Bssex, - deceased,
‘Ehis account is for the perlod beginning with the .....dMentyesocond Vd ay of
Oodober. ssesceneesnenserseeraneteeas 1946", and ending with the .......Zatmteernth........ dey of
MawON. aes saete mn cnaneserenreceteceesceeseasene 1960 , 6
Sald accountants charge them selves wlth the several amounts
received, as stated in Schedule A, herewith exhibited, + ye $892.13 SF
ee and askd to be allowed for sundry payments and charges, as stated in
Schedule B, herewith exhibited, Foe ee ee gg $698 IB

Balance as stated in Schedule C, herewith exhibited, -. 0. . 0. Bau Hons...
-We certify under the penaltles of perjury fat the within account is just and teue,

BOSTON SAVE DEPOSIT AND TRUST COMPANY).
ZZ, wabods wn esserege GE AB honenees cares )¥xaou-tors
ATE. SEAMS he gee flcey

(fre by Niruae Ladle) tt

Je undersigned, helug all persoris __. vance interested, having examined
ihe foregoing account, request that the same may be allowed without further nottee,

ED nr ead eee et ence eared tea ey awn

lissux, ss, . PROBATE COURT

At « Probate Cour} it HE eeesene ed Meck tenn bane, ste da and for sald County ‘of Issex,
on the... rept seseseccenetecciceneuanpeeereee day of LEE de ME eof 1 BR,

The foregoing eee ee cece cancencecet ieee ooceseneee eee
eeeBOCOUTE  caeacecensnsccccenesetee verre eevee having been presented for

allowance, and certified by the accountant aut all. peseecnpeccoeeecscucececcereoseayeceeereyseceeseee coe.
persons interested having been duly notified. goed, Abies Slides ho se heck .
na fhe lets hed ede Bone EC halle dete?

having conse serer rei arrneenneancnes : sree dedeaetteeany ee necaecan ene “
and no objections being made thereto, and the sama haring been exambied and considered by the
Court. nae “ - pentane prune tenececeennreees watnarenevsnrase

fv 1s prorgen that said account be allowed,

SM-2-3-59 |

I, Pamela Casey O°Brie, Register of of Probate Court for Essex County de hereby certify that

the foregoing { is a trus copy ofa document on file in this court,

KY 2.5 TN

IN WITNESS, Whereof, I have set my hand and affixed the seal of said-Court this

ESSEX, $s \ om» Ca OAs PROBATE COURT

CERTIFIED ' REGISTER OF PROBATE A TRUE COPY

Case 1:12-cv-01567-JKM Document12_ Filed 07/18/13 Page 55 of 93

(1884)
cay

(Atiners must be go deatgnated, and the namaa of thelr guardians, If any, be glyen, he hairs-at-Jayy and
Hort of kin may be determined, by rokerones to Chapters 190 and 198 of the Genera} Lays, ‘Tor, Con, Hd]

To TH HONORABLE THE JUPGES OF THE PROBATE COURT IN AND FOR THE COUNTY OF HgsEx:
Thomas E. Frogtor, 2nd,of Hamilton in the County of

RESPEC! PULLY vepresents feaex snd. Boston, Sate Deposit.ang Trust. COnBENY 5 Dhan
sa aT Ea TE ies el Sa eka
fggton in the County of 8 ulfolk anes... PROOHOR ET one sunmnaencss a
Who last dwelt in Tpavhobioacccssmmece in said County of Bssex, cocsccucscunmmmerooceome ne
Hed On #6 MOM OMEN. womemimnernsnnnnn dY of Aeptenber __ santana ssa
in the yeay of our Lord one thousand nine hundved and. LOU EYER sorasanennnarenernseaimnnonee
possessed of goods and estate remaining to be administered, leaving 93 widow—hushand,—
BA Gaeneceanen only heirs-at-law and next of kin, the peraons whose names, residences and re-
- lationship to the deceased ara as follows, vig.:

NAME, . RUSIDENGN, -RELAMYONSHED,
wuchonas Proctor, 2nd, Hanilion, Mass, Son
sine JOHN. TAKOR BROCHON a unc. Laden, Madne . Son...

Mary.ds Pe. Ga6e. A¥ON,, New, York rencrvenrn A BARON ca sacurnencun
on SONOR Bau PROGHOR coco Tpawdel, HOSP cooune DAUR osceeoncsnrcconers
That said deceased left a wint—and Gobieit-—herewith presented, wherein
your petitioner.s* Are.....named OXCCUEATR..romm BA Whoteln the eStats couen-n has requested

that you petitioners be exempt from giving 4 Suraty on their honds,
WHEREFORE your petitioners pray that said will—ent--codietl—may be proved and
allowed and letters testamentary issued to them » Without giving a surety on t Ieir
official bone 6 , and certify that the statementy herein contained are true to the best of
t heir  iknowledga and belief,

Dated this 24 Fett ee
BAILING ADDRESS,
woe QoL VAR, &. BEVDOLBG, somes eisgipes
1.Gourk. Street, Reston 8, Naas. Ke
HSgEX, 98. ' Subsexibed and sworn to this......13¢h
AY Of nemnmonannnonaeeenine OPE OMOA?... ovuetcngusoe rae ALD. 1946,
B@LOVE M10) vvecresnnmmans mevemnnehighhutrmctt ad Beth Rcd Fusthoe-of-the-Peaces

Notary Public
The undersigned, being all the persons interested in the estate who ave of full aga and
legal capacity, other than creditors, and the guardians of persons interested thereln, hereby
consent that the above named petitioner § be exempt from glving any surety ony h gir
bond s —_, and that the abova petition be granted

An eecen tones

eGR 48 BMT~10-28-40

o hame

Case 1:12-cv-01567-JKM Document 12

wer

Filed 07/18/13 Page 56 of 93

COMMONWEALTH OF MASSACHUSETTS,

Egsex, sg.
Ab @ Probate Court Olde AB rors... alam... vimumute dnd for sald County

OF BBSSCi, 09 TO mvmon KRONE BAGONG coco. dey of. son _ Aet, QE Da riussnuinucnnonasennn
tn the year of our Lord one thousend une hundred and einen muna LEY. ot rBLAi.... susnnnstynicn
joouitl IN, the.» enone sneBbokaat Reiko Bul nds Peraohelae poabany, ht, BALL
seorampettcentestuensernane Ede Miimrninecnemetll EG Gounty of , na estaten stevane
praying ‘that the Instr lumient..... wobhevewl th | presented, purporting to ho the last will and
Testament Stott ceccccmsnmc. -vottctie-of AMES He Proctor,
Tab OF cacscvsesen Ipswirh,.,, sitsae shane tauongeanes + In said County of BS8X.ucsnuommruminuans., eva
deceased, may be ‘proved and allowed, and letters testamentary issued te therm » tha
oxecuh.Ons...therein named, oud pecrrnintetasitstencnieessetrsssies ‘ome Without giving a
surety on their bonds; sutunanenine hia ntnnnne een
peiee ve sian sae een aatenustiattony moon Ot tha heira.
AE TAWy ceconsnneuanenimiecepes MOXG OF TAM, avenenerannnrennineynsninicimuunininesinnnnntbitineen ices,
and all other persons interested, having bean notified according to the “order of the Court,
to appear and show cause, if any they have, against the BEING fa. nsetreinesseriansecsnuinurmunnnetsurenmans
ahd no party objecting thereto, and it APDOATENE access sete it ideseomesitsotensereciehtedt pate ieecreapene
that ssid instrnment .....i.8. the last will and testament of said Hh Gcenseeh ANG FAB csccnsune
legally executed, and that sata testat DB inien WAS, AE THE TMA aciunemmnne OF making the same,
of full age and sound mind; and that sald potitionea eaten are sna ww
competent poxson to be appointed to said trusty
_ It 18 PHEREKORE DECRBED that BAL Instrument oneness be approved and allowed as
the last wlll and festamont of sald deceased, and Jetters testamentary be issued to said
POHHONOY By eronusinnuernitaiiinnnnnttoniinnipcentiitecatieeeececcc., sstenn pe tuestetenn

Chey first giving bonds without aureties, for the due performances of said trust,

nie ete snme S UOTE of Probate Court,

Page 57 of 93

Filed 07/18/13

Case 1:12-cv-01567-JKM Document 12

\%

werd Rirs

~
rect. James SL Reet

PROBATE oF WiLL,
(WITHOUT SURETHES]

Petizion—Deeree.

Returnable - Li BL 193.

Recorded Vol. __ Page
On 6/3 file

For Petitioner: :

~—ivler & Reyna ds

rt S treet
oszon 8, Massachusetts

For Respondent:

s

Se,

Case 1:12-cv-01567-JKM

tPF BH

“Piret and.

Pinal Account

Ni
of ent

1 Tneome

2
3
4
5

6
7
8
9
10

1946
Dec.

Lok?

Way,

LG -

Dee,
LOU?
Jan,
1GHE
Dea a
19h?
dan,
fpr,
duly
Oot '
1948
dan.
Apr.
July
LONG

Nac,

Lobe |

Apr ‘
LGAG
Dea.
LOW?
dan.

Mar,
LOLS
Nee.
Lov?
Jan.
Apr.

vm

IAES 3, PROCTOR
SCHEDULE A

Amount of personel, property, according to Inventory

hounts received from income, gain on sale of personal
property over appraised value, and from other
property, as follows:

Div, Allied Chemical, & lye Corp,
it .

- Bank of New York

wey
do,
ty
AMlied Millis, Ino.
American Surety Go. of New York

American Tel, & Yel. Co. (dna 10-156)

do, (Collected for Thomas B,Practor, 2nd)

Atlas Powder Co, . .
Baboock & Wileox Co, (due 10-31-46)
do, (due 12-20-46)

do,
(due 10-14-46)

Go, .
Boston Safe Deposit & Trust Go,
a0.
Central Rsnover Bank & Prost Co. . (due 10-1-4#6)
do,
do,

Foryard

Document 12 Filed 07/18/13 Page 58 of 93

Poe. ge

$604, 229,48 7

15.00
20.00

15.00
11.00
8,00
315.00
315.00
315 00
315.00
315.00 |
315,00
R18 00
78.75
5.00
60.00
60,00
60,00
7 00
7,00
hoo .00
152,00
4,00
41,00
AL OO

$607 h5323

Case 1:12-cv-01567-JKM Document 12

+

4 FR OD

First and

Filed 07/18/13 Page 59 of 93

' Binal Account JAMES Hs, PROGTOR Page. 3
SCHNDULE A = Continued Forward $607,453,23

oP heat

ITneo 2.

2 1946 ten !

8 Dec. 17 Div, Consolidated Béison Go. of New York, Tho, “% AS 20

4 199 ’ .

5 Mar. 18 u do. . 5,20
6 Jan, 16 " Gontinental insurance Go, 5ED.00
7 duly 15 ‘ de, 400.00

1LOAS Te,

9 Jan, 16 do, 400,00
10 LOG

1 Dec, 2 4 Corn xchange Bank Trust Co, (due TLAL-H6) 1.20
12, 2 " Grocker, Burbank & Co. Assn. (due 9427.46) 119.00
18 23" do. 952.00
14 1947
15 Mar, 28 8 do, 119.00
16 July 1 do. 238.00
17 Sept.29 i do, 258.090
18 Deo, 23000" do, 714.00
19 1948
20 Mar, 8 it do, 238,00
91 1946

22 Deo. 17" RYT, du Pont de Nemours & Co, 83.25
28 LON?
24 Mar. WA oN do. L, 674,00
25 dune 18 Go, . 800,00
6 igi do, 874,00
27 Sept. 1.6 i do, . 800,00
28 Dee, 16, # des, 800.60
29 1948 ‘
80 Mar, 16 do. 800,00
$i June 158 de, 800,00
82 1946 ,
8 Dec. 2 % 2YT. du Pont de Nenours & Co, $4.50 Prd, (due 1042516) 139.50
84 1947 . . °
85 Jan. 27 0 AO, 139.50
a Apr, 25 4 do. 139.50
87 July 28 4 de, 139,50
a8 Oct. 28 tt ‘do. 139,50
39 1948
40 Jan, 27 1 do, 139,50
41 Apr, 28 3 ’ do, 139.50
43 ee etree
48 crc
a4 Vorward $620,889,58
45
46
47

Case 1:12-cv-01567-JKM Document 12

First and

Filed 07/18/13 Page 60 of 93

G&vES Hy PROCTOR

Final Account

Number
of trem

Tneone

SCHEDULE A = Continued

Page

Forward $620,889.58

Dec. 2 Div, Bastern Gas & Fuel. Asgoc, 44% Cum, Priox Préf. (due 10-1-46) 56.25

2 Jan. 16
24 1946

25 Dec, 2
26 1947

87 Jan. 28
28 Apr, 28
29 29R6
a0 Dee, 13
$1 19h?

82 Mar, 11
48 dune LL
84 Sept.1)
fh Deo. 11,
86 L948

a7 Mar. 12
ag dune LL
39 196 |
40 Nec, 2

ag igh?

43 den, 3

do,
do,

Rastera Utilities Associates

do.
Hastman Kodak Co,
do,
de,
do.

do,
do,

5

(due 12-15-46)

do, (Collected for thowas B, Procter 2nd)

Fidelity-Phoenix Fire Insurance Co, of New York

do,
do,
General. Bleotria Co,

de,
do,

General Motors Corp,

do,
de,
‘do,
GOs

do,
do,

Hanover Fire Insurance Ge. of the City of New Yori

do,

(due 10-2546)

(due 10-146)

Forward

56425
56, 25

100,00.

106,00
187.50
132,245
1.26.00
126,00

198.00
126.60
31,50

613.20 °
400,00

480,00
20.00

20.00
20 400,

Lb, a0
204.00
201,00

201.00
201.00

201,00

' 201,00
BO
5:40

er te Bs eter eer eg pgs mt ag

$625,088.58

Case 1:12-cv-01567-JKM Document 12

FR

Filed 07/18/13 Page 61 of 93

Piret and a "a> rest “by es “
Final, Aocount JARS Hy PROCTOR Pare 4
SCREDULY A = Continued Forward $625 1088.58
ae nes
1 Income
21946
8Pec. 2 Div. Herovles Powder Co, (drier Gi 2Ktls), 87.50
4 23 4 do, . 262.50
§ 1947
ONar, 26 if do. 122.450
7 June 26 =O do. 121.80
8 Sept.26 4 ” do, 121.80
9Dec, 23.04 do, + 330.60
10 1948
WiMar. 26 4 do,: 121,80
42 O46 .
18 Dec, 2 " Mahoning Coal RR. Go, . (due 10-146): 93.78
Ww 30 do. 93.95
186 29h
Apr, 3 4 de, 12.50
W7duly 3° 4 - do, 122,50
18 Oct, 3 t do, 187.50
19 Dee, BL do, 187.50
20 LOKB
ai Apr, 6 " , do, , . ‘ 187.50
22 July 7° OH do. (Collected for Thomas E. Proctor 2nd) 50.00
25 LONG . ‘ '
2% Dec, 2 " Mass, Utilities Investment Trust 5% Gum, Partle, Cony, Prd,
26 (due 10-15.46) 3.13
26 1947
a7 Jan, 16 ff do, 3413
28 1946
29 Dec. 23°" Mission Goro, 49,00
80 30002~C«*# ' do, (due 12-276) 6,40
31 2 4 Netional Bisouit Co, (due LOW1§~U6) 250,80
$2 1L.9i7
88 Jan. 16 =" do, 250,80
8 Apr, 16 0 do, 334.40
a6 duly 1p 4 do, 160,00
86 Qet, 1? W do, 160.00
47 1948
88 Jan, 16- 4 dlo, 320,00
89 Apr, 16 #t do, 166,00
40 LOA .
41 Dea. 10 4 Natjonal Biseuit Co. 7% Cum, Ped, . 22.75
42 LO? , ,
438 Mer, 4 u do, eee tS
44 June 5 4 do, 22475
45 sus ce esate,
46 :
a7 Yorward $629 ,038.99

48

i Pre $H
Fee tesount . gig HL, PRogrOR
SCHEDULE A ~ Contlaned Forward.
or hes
1 facome.
21.9197 ,
3i¥eb, 4 Div, National, City Bank of Hew York mr.
41946 . 1
Bie, “13 " New dersay Zine Co,
6 19h?
7Nar, Lo" _ do,
8dune 10 3 - 0.
QSept, 12! do?
Dec. JL # dos
1 26 «4 do,
12.1988
WMar., IL i do,
M4dume Lo 4 do,
18 19446
16Dec. 2 | New York Trust Co. (due 0-1-6)
17 1947 . ,
Wen. 7 # dlo, {due 1-2-7)
igjApr. 2 ?!! do.
- 20 1946
“91 Dec. 13  " Phelps Dodge Gorn.
22 Lol?
2 Jan, 29 "% Radio Corp, of Amerttioa
24 LONG :
2Dec. 17 " Singer Manufacturing Co.
26 1947
OF Jane 20 3 do, (due 12-27-46)
28 1946
(20 Deo. 24 " Sonthera Pacitie Go,
30 1? 4 Standard OM. Co, of California
31 1.947
62Mar, 18 # do,
$8 LONG .
34 Dec. 2 " United Fruatt Go, (due 1015-46)
86 1947 . Y
36 Jan, 16 # de,
87 Apr. 4 4 a0.
8 July 15 4 do.
88O0ct, 15 F do,
40 1948
4t dan. 15 4 do,
AQ Aor, 15 B05
43
44 :
48 Forward
46
47

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 62 of 93

Page 6

$629 , 038.99

9,60

L, 275 400
637.50
300.90
150.00
300.00
#50 400

2150.00
300.00

13.00

13.00
13.00

2,00
38.20
9,00
12.00

17.00
24.20

270
322450
322.50
645 00
300.00
900.90

300.00
900,00

$636,467.69

Case 1:12-cv-01567-JKM Document 12

First and

Binal Account

Numbe
of tent

1 Lncowmea

2 1946
8 Dec,
4 iol?
& dan.
6 Mar,
7 Apr,
8 1946
9 Nee,
19 1947
11 Jan,
12 Apr,
13 1946
14 Pec,

18
1p 1947
7 Mar,

38 Mar,

a9 Apr,
40 1946

BQ te °
WD EWR a5 hy Bp wea

nN

~ TOL on

AN “EON

nh

Div,

GAS 1H. PROTOR

Filed 07/18/13

SCHEDULE A. Continued

United Shoe Machinery Corp,

da,
do,
do,

4

United Shoe Hachloery Corn, 64 Cum, Fra, (due LOW }H6)

do.
do,

Van Norman Machine Toot Co,
do,

de,

(duer 10-5146).

4

(due 9-20.06)

Warren Netionall Bank of Peabody, Wass.

Westchester Fire Lnsurance Co,
Baltimore & Ohho RH. Go,

do,
do.

Boston & Albany RVR. Go,

do.
do,
Boston & Matne RR,
do,
Blixeott Square Co, of Butfalo

(due 112446)

(sold)
(due 10-146)
(sold)

(1.960)
(sod)

New York & Westchester Lighting Go,

do,

Chiy of Detroit, Mich,

Corporate Stock of the Gly of New York (1963)

do,

Gorporate Stock of the Glty of New York (1965)

do,

(sold)
(due 10.146)

(sold)

(sold)

Forvard

Forward

Page 63 of 93

Pass L
$636, L6?. 6&9

31,25

31425
50.00
31.25

8.25

8,25
8.25

50.00
L50,00

59.00
4,00

+80
20,00

20,00
6.67
87.50
20,90
100,060
61,67
425.00

20,00
12.33

81,25

15,00
12.75

112,50

88,13
Ne rater bh teh pli

$638,092,19

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 64 of 93

Biret and .
Pinal Account JAMES H, PROCTOR Page &
oP ieens
1 SODEDULH A» Gontinyved Forward $638,092.19
2 Income
8 19 ‘
4 pee 21 Int. Gorporate Stock of the Oity of New York (1972) (due ROHL S46) 2125
é 19 .
6 Apr. 15 tt ilo Ble 25
7 230 tt do (sold) 83
8 Ma 8 Nn Untted States of America Sevings Series @ 12-50
9 19 , .
10 Dee. 22 0 United Stetes of America Treasury (due 10-1} S46) 8,52
it 31 uo do (sola) 3055
12 197 -
18 Sept. 26 Int. from 3+15H7% on refund of overpayment of Ferleral tax for
i the period from January ist to September 7, 1946 H31420,
15
18 Reimbursement of Mass. texes « Esther B, Proctor $1.603
17 Thomas BH. Proctor $1.61 3,211
1g 1949 - oo
i9 Mey 16 Amount received from Old Colony Trust Company representing
20 final distribution from trust under the will of
‘D1 lydia W. Thacher 14,32
op Oct. 9 Refund of portion of Federal income tax for period 9464h6
95 to Lea diets $232,183 interest from PLosl) to
24 Per 2B50 $46.93 . ZEAL
9% 1950 .
2) Dece 4 Amowmt received from O14 Colony Trust Company, Administrator
27 of the estate of Martha Proctor Preston, in full of
28 . distributive share dus this estate 794,27
.20
30
at
32
83
B4
a5
36
a7
38
ag
ap
4
42 Forvard oo $639, 6B2, 26
43
a4
45
45
47

Number

of Item

SeN oe om oo we

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 65 of 93

First and:
Pinel Account

JAMHS Hy PROCTOR

1946
Deo. 16
1947
Jane ‘LO
13
15
25
Mar. J
Apr. 21
23
’ Mey 1
2
5
19
June 19
Sept. 26
Cet, 2
Nov. 3
Dec. hh
19

SOMMDYID A= Coutinued Forward
Principal GAINS .
Proceeds from sale JHO rights Amexican TS,» aol Ca.

Gain on eoile 11 she, Allied Mills, Inc.
Gain on sale § she. Phelps Dodge Oorp-

Gain on ‘sale 3 shs. Singer Manufacturing Co.

Gain on sale’ 2-shs. Corn Exchange Bank & Trust Cos

(ash received ag distribution from estate of John L. Riker

Gein on sale 29% shes, Hlidcott Square Co. of Buffalo 5% Pid.

Return premiun from Obrien, Russell & Go. on cancellation of
tiability policy protecting property a% Ipswich and

‘Hamilton, Nass.
Cash received as a distribution on shares of Insull Utility

Investments, Ine, -« not inventoried

Gain on sate $1,000. New York & Westchester Lighting Go. he,

July 1, 2004
Deposit in Warven Five Cents Savings Bank, Peabody, Mass. »

not inventoried

Gain on sale 10 she. Allied Chemical & Dye Cozp.

Gain on sale 2 shs. Hercules Powder Oo.

Gain on sale 92 shes. Mission Corps

Gain on sale 38 she, Standard O11 Co. of California

Gain on sale 3 shs, BastmansKadak Go.

Proceeds from sele of Parker Suyle Trap Gimcand Case -~ not
jnventoriad -

Gain on sale 497 sha. BI. du Pont. de Nemours & Cos

dash received vepresenting refund ef overpayment of Federal
income. tax for period Jan. 1, to Sept. 7, 19H6

(ash received from Thomas H, Proctor, 2nd, Hazen H. Ayer

ant Boston Safe Deposit and Trust Company, Trusteonr under

‘ho will of thomas He Proctor representing valence of
collected and accrued income due this estats

Adjustment of inventory value of: the following? .
$17,000, Mliicobt Square-Co. of Buffalo 5a, Mar. ty 1950
10 she. BA. Abbott Go.
119 ghs. Crocker Burbank Co. Aspoolation

Proceeds from sale 1HO rights American Tel. & Bele Go.

Gash received from estate of Thomas H. Proctor repre senting
pack vents due this estate at date of death

Forward,

Page 9

$639,682.20

292408

17.20

3358
26,66

3.59
1,166.66
125.42

23.58
280
792

610.46
31.94
3679
135435
148.37
31,88

75.00
- HELLO

1,177.85

1.4, 365.09
1, 792+ 80
6, 545. OC

252.8
301, OF

a Fn Th tek pie oi a

$683, 809, 7€

Case 1:12-cv-01567-JKM

Document 12 Filed 07/18/13 Page 66 of 93

First and
Final Account JANES HE, PROCTOR Page 10
SOHHDOUhER A -~ Continued Forward $683,809.76
Principal GAINS
LOAB . Woo,
dune 3 Appreciation on 2 shs. Mahoning Goal. RR, piatributed to
‘Boston Safe Deposit and Prust Company ané John R,
Proctor, Trustees, at market value 161,12
Aug, 2 Appreciation on 1 sh. Mahoning Coal. RR distributed $0
Thomas Hy Prootor, 2nd, at market value 80,56
Appreciation ‘on 3 she. Crocker Burbank Assoctation distributed
to Thomas ¥, Preotor, 2nd, at market value - 303.00
20 Cash vecelved ag 5 distribution on shares of Insuillll Utilliy
by Investuents, Inc. » not inventoried 31.10
19
Mey ll Cash received from Old Colony Trust Gc., representing 1/15th
: interest due from estate of lydia W. Phacher ~ on afa 1,300, 00
. 16 Cash received from 01d Colony rust Go., representing balance
fue from estate of Lydia ¥. Phacher HBH, 98
Noy. 21 Received from Hsther Bs Proctor, representing her pio rata
share of ineuvance premiwns paid by this estate on real
- estate devised to her 1,981.39
1950
May 10 Interest in estate of John l. Riker + additional property atest nr ne
16 Balance due from estate of John i. Riker 1,587.47 .
Oct. 9 Refund of Federal income tax for period 9~B4+k6 to 12-9]ah6 21168
Interest on refund of Federal income tax for period 9846
Go Ls Fekts WO. 75
Dec. # falence recetved from 01d Colony Brust Jo,, Administrator
of the estate of Martha Proctor Preston 1,940.92
$692,134. 53
Seni rece eee ee

Case 1:12-cv-01567-JKM Document12 _ Filed 07/18/13 Page

PRG 6Metzegs t

First and '

67 of 93

ae

Final Account JAMES Hy PROCTOR Pope 14,

ales

t .

2 SCHEDULE 3

3

4 Showing payments, charges, losses end distributions:

5 “

6 Principal ’ DEBTS AND ADMINISTRATION BXPENSRS

7 is4é a . —

8 Nove 16 xeoutorst certificate of appointment $460

9 £5 Photostetio Sopy of exeoutors! certificate of appointnent 020
10 Deos 6 Boston Safe Deposit and Trust: Gompany, rental of safe 4 epoait.

Nl box and cost of replacing lost key 5230
12 19 He Wa Atkingon, fish . LebslO
18 20 Esther B, Prootor, veiubursenant to her for payment of telephone

14 servies from September 6th to November 6, 1946 25086
15 Thowas Es Prootor, nd, reiimburecment for payment of the

16 following bills paid by him:

17 John SkLhesi, wages for August, 1946 5121.80

18 George Comean, , dds 170.00

19 James We Brown, dos . 160400

20 Virginia Ryen, balance of Wages from

21 August 26th to Sept. 7, 1946 30400 471480
a2 - Guy He Sargeant, services during 1948 , 200 00 -
23 25 Peer Py Johnson ot al, hospitel oare 140.00
24 tyler & Reynolds, dfebursements re egtate matters 20.48
25 Town of Ipswich, electric service 143478
20 5, Sullivan, horseshoss 85.00
27 Sooony~Vaouun O11 Cos Inc., gasoline 46 460
28 te Ae Abbott Co., repairs - 906492
20 Charles W. Rand, plumbing and heating xepaira 182.96
80 tpawioh News Cos, wowspapers 16480
Bi fpewich Grain Co., feed 154435
82 Tpswich Pom ly Laundry, service . 3460
88 ' . Boston Safe Deposit-and Trust Oow, rental of safe deposit box 36 060
ad Se Se Pierce Cos, provisions b4475
3b Fairlewn Avimal Hospital, care of oat 26400
36 F, ds Bartlett Treo: Expert Co, Ine., gorvioe 40360
a Bevorly Hospital, board, nurses ond supplies 1, 149542
a8 Tyler & Reynolds, rolmbursenent for payment of the following

89 bilis paid by them:

40 Catherine Monages, waters for Oot. 1846 $140.00

at Margaret Quinn, £A04 136400

42 Alice Roid, » dos 91614

48 Mary Walsh, “ds 91414

t Abble MoGilliouddy, dos _ 77.70

46 Portard 634.08 $4,122.82
a7

Case 1:12-cv-01567-JKM Document 12

PAB Sbtzead . 1

é

First and

Filed 07/18/13

Fined Account JAMES He PROCTOR
‘Number . .
of itam
1 SCHEDULE Be Continued

2

8 Prinolpal DEBTS AND ADMINISTRATION EXPENSYS ~ Continued

4 I9d

B Deo. 23 Tyler & Reynolds, ‘relwbursement for

6 bilis paid by thom, continued:

7 . | Forward #684,98
8 Patriok Warren, wages for Sept, 1946 160.00
9 John Cuwiings, dO6 112460'
10 Louis Holdex, do. 112.50
11 Poul Anooki, to. 112-80
12 John Sloron, AO» 112660
18. vohn dkibesi, As 112.60
14 Iouls Weskebi, dO« 112.60
16 Joa Sack, dos 112260 |
16 Stanley Stacke, dos 87 .50
17 Willien Comeau, dos 90.00
18 Mrs, Warren, board and laundry, vo men 68,09
19 James W. Brown, wages for Sept. 1946 160.00
20 Post offices rent 1.50
ai Janes Wf, Brown, expenses 1400
22 George Comeau, wages for Sept. 1946 170400
23 Edwerd MoNamare, dd. 165.00
24 Esther B. Preotor, household expenses, Sept.'46 640,00
25 Patrick Warren, wages for Oat. 1946 160.00
26 John, Cummings, dO» 121.80
27 Louia Holder, QO» 121,50
28 : Joe Sack, dos 121.50
29 John Sierou, dos 121.460
30 Louls Weskehi, doa 121,50
ai John Skibesi, dos 191.80
82 Stanley Stacke, do» (10 days) 46,00
88 . VWillien Comean, dds 90,00
a4 Ure. Warren, board ond laundry, two mon 64.424
35 George Comeau, wages for Oot, 1946 170.00
36 Jomes Ws Brown, doe 150400
37 . Edwerd MeNemare, dos 168,00
a8 Rhodes Brows Co., provisions
39 Na Ja Bolles, Co., groceries
40 John W. Goodhue Corp., hardware
at Thomas Jv Grey Go., garden supplies
42 Agewan Dispatch,. moving .
43 Weloh's Fish Market, Inc., fish
3 2? Charles We Rand, plumbing
4g
AT

Page 68 of 93

Porvard

XG ‘
payment of ‘the following

Forward

Page az, .

4,385.8)
1,014.02
930429
1.66
271012
2406
4446
66092

$10,788 614

Case 1:12-cv-01567-JKM

Document 12 Filed 07/18/13 Page 69 of 93

PA‘S | SMIteat

+ a

Firet and

Fbhal Accoust JAMES H, PROCTOR Page 14,
oP Res

SCHEDULE B ~ Continued, Forward - $10, 788 «14

Princlpal DEBTS AND ADMINISTRATION EXPENSES - Continued ‘

2
8
4
5 1947
6
7
8

Janes 6
7

9
10 — 10
11
12
{8
14
15
16 14
i7 7 |
18 24
19 Mare 4
20
al
22
28 8
24 12
25 14
28
27 . B4
28 Apis. 1
29 14
80
31 22
a2
38 30
a¢
35 May 8
36 LB
37
38 28
83 June =?
40 4
41 23
42 80
43
44
45
46
47

Certificate of death of James Hs Proctoy

Peroy Ge» Wlweli, demolition of building and trucking

Photo static copies of will "

Photestatio coples of executors! certificate of appointment

Photostatic opples of execvtors! certificate of appointnent

Photostatio ooples of will

Photostatio copy of Indenture of John Riker Proctor

Photostatio sopy of resignation of Thomas BE. Proctor, Trustee

Photostatio scopy of appointment of Jobn Riker Proctor, frustes

Photostatie copy of appointments of Thomas EB. Proctor, 2nd, Trustee

Cransfer stamps

Plerce §. Haley, fees for appraising tongible persona Ly

fovm of Ipswich, water and slectricity

Mass. tex assessed on income received by this decedent during the
period from January 1st to Saptember 7, 1946 .

Mass. tax assessed on gains made during the period from September
8th to December 31, 1946

PF. Aa Bartlett Treo Expert do., service

David Broude, preparation of income tax returna in 1946

Federal tax assessed on geins made during the poriod from
September 8th to December 31, 1946

Boston Blue Print foe Ince, service

Exeoutors' certifloate of appointment

Pierce 8. Haley, typing inventortes of miscellancous personal ty
in astave

Photostotio copies of will of various velatives of this decedent

Photostatic copies of exeoutorst certificate of Sppolntinent

Photostatle copies of will and executors! certificate of appoilnt.
ment . mo,

Photostatioc conies of executors inventory

' Photostatio gopy of raleane of Federal estete tax lien on property

ab Ipswich, Masse
Transfer s temps
Registered mail and insurance charges
Appraisers! fees (3)
Railwoy express charges

Bf
200400
1
oot

5 4(
27.
oft

+8

23(

bf

+0!
800.0!
100-1

S86 67
165 63:

494471
800 401

* B40e1t

FS
«Bl

78 0:

Bek
2S

lst

Zdware L. Murphy, services re valuation of stook of Be As Abbott Go, 2049

Forward $1.5, 72029.

mh,

Case 1:12-cv-01567-JKM

First and °

Document 12 Filed 07/18/13 Page 70 of 93

inal Accom

Numbee
of Ttom
I Principal
2 19H?
3 Allg, 29
4
8 Septy 3
6 lL
7
8
9
10 42
it Oct. 23
8 Dea, 8
1
id 7
18 i9hg
16 gan, ie
17
1 16
19 May ?
20 20
of
223 tune = 1
2
24 7
25 10
26
a 1
28 ao
2)
80 duly 28
81 septs 29
82 1949
88 Feu. 17
34
36
a6 Mar, 1
a7 1s
88 May 6
39 “10
40 1965
4t Tobe 30
42 1958
43 Sept. 2
44 1960
Ab Jan. 20
AB
47

JAMES Hy PROCTOR Page 14
SCHNTULE B- Continued Porward $15,720.94

DEBTS AND ADNINT STRATTON DAPENBAS ~ Continued

Mass. additional tax aggessed on gains made during the poriod

from September 8th to December B31, 1946 ON AeA
Photostatio copy of sxeeutoral inventory 1480
Thomas ‘i. Proctor, 2nd, Hamen H. Ayer and Boston Safe Deposit and.

frust 0o., Trustees under will of Thomas By Proctor,

Yoinbursenent to them fox paynent of Mass, tex assessed on

income due’ this decedent for 19h6 2,394.94
Registered mail and insurances chorver +26
Massachusetts inhevitance tax on ae 19,775.00

federal estate tax °
Photostatic copy of letter dated Dec, 12, LONG from Merlin Ti

Trumboti, MD. +20
David Broude, services re examination of LNW, 1945 and 1946
income tex returne , 100.00
Exeoutors! compensation 19,000.00
Registered med] and insurance charges . 2G
Tyler & Reynolds, legal. aervices re allowances of vill and other
12,500.00

estate matters —
iixecutora! certifioate of eppoiniment and trustees! certificate
1.00

of appointment
Transfer stamps 137.44
Photosteatie copies of exacutorat and trustees! certificates of

appointment 3.60
Transfer stamps 4400
Photostatic copies of executoral and trustees! certificates of

appointment ' #90
Registered mail and dasurance char es . . 8.50
Messachusetts inheritance tax. on afe ’ 309,46
Fee Yor certificate from Commonwealth of Massachusetts to be used

to support claim for deduction of Massachusetts inher] tance

tax on Federal, estate tax return . 1625
Mass, tox assessed on gains mado during the year 1948 +79

federal tex assessed. on gains for the year 1948 2,611,
Additional Federal estate tex : 2,956.67
Osman Babson, DsVsM., professional services hh. 02
Certificate of appointment +50
Balance of Wessachusetis inheritance tax on present interests . 23,60
Massachusetts inheritance tex = balance h 659.19
fizpenses re filing executors! firs and final account , 98,50

Forward $246 068, Ute

Case 1:12-cv-01567-JKM Document 12

FAB on

First and
Final Accoum+

Filed 07/18/13

JAMES Hy PROCTOR

et

J

2

3

4

& Lncone

6 19

9 Jan, ”
gp Mare 14

9 Tune 13
jo Sept. 45
Wu.

12 L948

1 Mer. 12
14 June Z
ig Sept. i
i6

17 29
18 Docs 6
1p 199
oy Mar. 15
31 May’ 16
22 -

a3 Lrinotpal,
i L946
36 Dec, 24 .
27 °
2g 1947
o9 Mer. 19
80
31
a2 1946
88 Dec, 34,
.B4
35 19047
a6 Jan. 8&8
a7 40
88
30
40
4}
42 13
48
44
4B Li
46

SCHEDULE Bs dontinued Forward

REBUS AND ADMINISTRATION OXPRNSHE « Continued

Photostatle copies certificate of appointment

ist Jnstalwont Wederal income tax Sept. 8th to Deo. 31, 1946
and instaluent Federal income tex Sept. 8th to Dec. 31, 1946
Uxecutors! compensation

Balance Federal income tax Sept, 8th to Dec. 31, 1946

iat instalment Federal tnoome tax for 197
anda instalwent Féderal income tex for 194?
3rd instalment Federal income tax for 19/7
Hxeoutors! conpensation

Interest on Massachugette inheritance tax
Ath instalment Federal. naome tax for 1947

Federal income tax for 1948 in full
Interest on Federal estate tax deficiency

FUNWRAL EXpmiens

Whittier Funeral Home, funeral director
The Hearst Corps, death notice

Henry Murray 0o., monument york

LOSSHS .
Loss on sale $400. United States of America Treasury Ads,
Oct, 15, 1952

joss on salé 1 shave Boston Real Hatate Uxchange

Loss on sale 10 she. Atlas Powder Co,

Loss on sale 100 shs. Mass, Utilities Associates

Loss onsale 2 sha, Warven National Bank of ‘Peabody, Mass.
Loss on sale 4 shes. American Surety Co. of New York

Loss on sale 5 she. Mage, Utilities Associates 5% Pid, —
Joss on sale 50 shs, Niagara Hudson Power Corp,

Loss on sale 12 shs. United Dyewood Jorp. *

lass on sale 191: shes, Radio dorp, of America

boss on sele 2 shs. Bank of New York

Forward

Page 71 of 93

Page 15

$26,068, At

24h
668.23
668,23
1,239.3?
1,336.17

1115497
1,425.96
1,115.96
— 822.34

17.33
1,115+96

919.76
223.21

892,00
1e?5

487.85

4,87

25
18.79
18, 58

1,16
13,08
16,49
26,61
26,30
435,52
80, 24

ehh UR hte oe tm eae

$256,498.32

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 72 of 93

irs § and

Hinel Acoount JAMBS H, PROCTOR Page 16
steabet SCHEDULE B~ Continued  Vorward $258,498.92
of Trem -

1 Pednedpal.
Q LOSSES - Continued \.
g igh? _
4 Jan. 14 toss on sale 18 shs, Hanover Tve Insurance do. 44.63
5 Loss on ale 2 shs. Westchester Fire Insurance do. ‘8.66
6 - 20 Loss on sale 17 she. Southern Pacifle Co. 110.84
7 ¥eb. 8 Toss on pelo 1 sh. Boston Athenaaun 29,7
8 12 toss on sale t2 shes. National Olty Sank of New York 210728
9 Mar. 20 loss on sale 200 sho. Boston Safe Depoalt and Trust Compan 1.00
1p Apr-- 23 Lose on sale $1,000, Corp. Stock of the Gity of New York Nae,
li Apr, 15, 1972 113.75
12 ‘Loss on sale $5,000, Corps Stook of the City of New York du,
12 June 1, 1965 381.425
14 Lows on sale $2,000, Corp. Stook of the City of New York Mea,
18 Mar. 1, 1969 455400
16 Losa on sale $5,000. Boston & Maine RR. Ae, July 1, 1960 W125
7 2% Loss on sale $3,000. Boston & Maine RR, Hes, July 1, 1970 163.95
19 25 Lose on sale $2,000, Boston & Maine BR. Khe, July 1, 1970 109,06
19 28 oss on sale 200 shs, Rastern Utilities Associates 941.00
20 Apr. 29 oss on sale 200 she, Bangor & Aroostook Rak. Co, 2,292.53
BI Loss on sale 50 shs. General Dlectrice Cos 289.70
oo Loss on sale 45 she. United Fruit Co» - 9,03
23 Loss on sale 50 sha, United Shoe Machinery Corp. ° go. 64
24 Loss on fale 22 shs, United Shoe Machinery Corp. 6% Cum. Pd 1.03
25 Adjustuent of ingerest Inventorled as $152.50 4 should have
26 been $112.50 (on $5,000. Corp, Stock of Clty of NY. Hie,1956) 40.00
27 30 Lows on sale 50 ths. Hartern Gas & Buel Associates Ags% Com,
28 Prior Pfd, 622418
20 May 1 Loss on sale 113 shs. Consolidated Bdison Co. of Hew York 274,84
80 Loss on sale 41 she, Central Hanover Bank & Trust Co. 507407
31 . Loss on sale'275 shs. New Jersey Zinc Go, 60836
82 Ci Legs on sale 119 ahs. Continental Insurance Go. , 112,39
33 @ Loss on sale 136 chs, National Bisouwlt Co, . . 55533
84 Loss on sela-100 shs. Van Normen Mechine Tool Co. 182, 46
35 loss on sale 13 shs, New York Truat Co, 171.07
36 6 oss on sale 111 shs, Pidelity+Phoenix Fire Insurance Co. of
a7 New York 39560
38
. 39 The following securities charged off as worthless:
4
4} 10 shs. Consolidated Wats Go. 0,00
42 100 shs. New Hnglend Cooperative Soolety 7% Pra. 0.00
43 50 sha. Portland & Ogdensburg Rwy. . $4,700.00 4,700.00
44 . , . nicer nts eye et rere
45 ,
46 . Forverd $270, 800,80

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 73 of 93

6 FRE su
First and
Final Account JAMES H, Procror Page
Nusiber .
of Trem
1 SCUMDULH B Continued Forward $270, 800,60
2
8. Principal “ *,
4 LOSSHS - Continued *
6
6 ighe
7 Mey 7 loss on tale 300 shs. New Jorsey Zine Co, 637.09
8 Loss onsale 120 she. Baboook & Wileox Co. Lod, 67
9 Losa on sale 200 she. Van Norman Machine Tool Go. 182.46
10 8 toss on sale 100 she. New Jersey Zine. Co, 208.39
it 24 Tops on sule 300 sha. New Jersey Jina (Co. . 936.344
12 15-688 on salle $5,000. Boston & Atbony RR. do. aha, Apr. 1, 1952 40,00
13 . Loss on sale 13 sha, National Biseult Co, 7% Pfd, 208.12
14 16 Loss on sale 300 she. National Biseult Go, £11.03
16 Mey 27 toss on sale $16,000. Bllicote Square Go. of Buffalo let Mtge.
16 Ref, 5s, Mar. 1, 1950 , 684.96
17 Sune 6 Lose on sale $1,000. Wlitcott square Co, of Buffalo lst Mtge,
18 Ref. 55, Mar. 1, 1950 : . 70.50
19 July 2 ‘toss on gale $1,000. Baltimore & Ohio RR. Co. Ns, Nove 1,
20 1980 109.63
21 Dee. = 2 Adjustment of inventoried value of jewelry and silverware "
22 French medals ~ not found Snong the effects of thig decedent 10.00
2
24 DISTRIBUTIONS FROM ANCOME
25 ( ,
26 wy Esther Bs Proctoy + 1/Ath Ehomeas By Proctor » 1/Ath
27 «ig .
28 Mer, & $60.08(18+ instal. Mass. tax $60,08(18¢ instal, Mase. tax
20 on income for the period on income for the partod
30 Sept. 8th to Dec. 31, 1946) Sept. Sth to Dee. 31,19h6)
8 Aug, 29 60-07(Bal. Mass. tex on income 60,07(Bal Mass, tex on dnoome
82 for the period Sept, 8th for the period Sept, 8th
88 to Dec. 31, 1946) to Dac. 31, 1946)
341.948 |
85 Mar, J 160.92(1s8t instal. Mass, tex 160,92(1st instal, Mess, tax
36 "On Income for the year on incone fot the year
a7 1947). 1947)
38 Sept. 16 160+92(Bal, Mass. tax on income 160.91(Bal.Mass, tex on tucome
89 for the year 19h for the year 1947)
40 4949
41 var, 1 113486(Mass. tax on income for 113.87(Mass. tax on tuoome
42 the year 1948 for the year 1948)
43 Aor. 22 5,000.00 5,000.00
eo
Mar, LH & 372 ‘ 38202
46 a 62 $6,393, 87 saya eee
a7 Forvard $287,031, 2

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 74 of 93

First and
Final Account JAMES H, PROGTOR Fago 18
SCHBDULD Be dontinued Forward $287,031.29
of he .
1 DISPRIBURTONS FROM INCOME 4 Continued
2
3 John R. Rroctyr and Boston
4 . Safe Deposlt abd trust Company,
5 Wo Mary TePy Coase » 1/Hth vusteds a i/4th
6 19 |
7 Apr. 22 $5,000,00 $5,000.00
& 1960 , so
) Har. 1h 1,232.02 , 1252202
10 $6, 232.02 6, 232.02 12, 464,04
11 :
12 , PRINCIPAL DISTRIBUTION .
13
14 Distribution of the following préperty, in accordance with the
1 provisions of the will:
16
7 Hether By Proctoy
18 Delivery of all household furniture and furnishings, jewelry,
19 ‘ booke, briceasbrac, silver, pictures, putomobliles, horses
. 99 and all other tangible personal property in accordance with
21 Artiole 1 of the will: .
"99 21948 ‘ ,
23 Jan, 26 Household furniture, automobiles,ote. at Mostly Hall,
24 Ipswich, Mass.
on . Furniture, silverware and other artic'les of
o5 household use and supply $26 , 332.90
7 . 1937 Tincoln Sedan . 200-00
28 1944, Ford Station Wagon ‘900.00
20 1939 Yord Station Wagon’ 500.00
80 1938 Ford Express Truck 325.00
si. , 1933 Ford one and oneshalf ton truck 100.00
$2 1934 Ford Platforn Pruck 200.00
33 Livestock (horses) 800.00
84 Farm equipment L, 745.00
36 .
36 Household furniture, furnishings, eto. at 100 Beacon
a7 Street, Boston, Masse? .
88 furniture, ete.  - 860.50
a0 : Laces . 75400
40 July 26 Jewelry 48,00
Al Silverware 144.00
42 ss 32,680.40
» 43
44 semeemertie Artem ua
4G -
eo Forward $392,175.72

Case 1:12-cv-01567-JKM

Document 12 Filed 07/18/13 Page 75 of 93

’ + ven as oN
‘ 9
Hirst and
Final Account ZAMMS Hy PROCTOR Page 19
Number
of Trem ‘
i SCHEDULE B ~ Continued © Forward $332, 175472
2
8 PRINCIPAL DISTRIBUTION ~ Continued
4 '
5 Distribution of ‘the following proper ty, in acesrdanoe with the
6 - provisions of the will: = continued ‘ ‘
7
8 Payment in tuli of the following legacies under Article
9 3. of the wilt:
10 1947 ‘,
Wl May = 27 Jaues W. Brown fi2,000,00
12 . Potriok Warren, 2,000.00
1 George A, Comeau 2,000.00
14 Hdward MoNamexva 2,000.90
15 Hergeret A. Gillies (called Nes. Kenneth
16 W. Gillies in will) 2,000.00
17 Nettie Low (called Mrs, James W. Low
18 dn wil1) : 22.000, 00 12,000.00
i9 ,
20 Payment ia full of the following legacies under Article
21 4, of the wiki:
22
28 Gyy H. Sargeant $2,000.00
24 Percy %. Young 2,000,00 4,000.00
25 ‘ .
26 Payitent In full of the following legacy under Article
27 5+. of the wills
28
20 New England Deaconess Hospital 5,900.00
30
31
82
38
84
85
ae Forvard $353,175.72
88 .
39
40
at
42
43
ad
45
46
ay

Case 1:12-cv-01567-JKM

Document 12 Filed 07/18/13 Page 76 of 93

6 aha 3H
Kirst and’ “
Hinel Account JAMES H,, PROCTOR Page 20
Number .
of Tem
i SCHPDULE B- Continued Forward $353, 175472
; FRINOLRAY MLSMRTBETON .,ontanued
1 .
: Distribution of the following property, in ‘aecordance with
6 the provisions of the witlly .« continusd
Delivery of the following property in accordance with the
9 provisions of Artiole SIXTH of the will, representing
10 the residue of the estate
i Hsther Be Proctor ~ 1/4th
l4 dune 3 3 sho. Mahoning Coal Railroad Co. $1,200.00
15 35 she, American lel, & Pel. Qo, 6,243.13
14 67 she. General Motors Oorpe 3,852+ 50
17 100 she. HI. du Pont ao Nemours & Co, 18,137, 50
18 87 shs. Hevevlles Powder Co. 2 556.62
19 75 tha, New Jersey Zine Co, 4,621.88 -
20 109 she. Nationel Bisowit Go, 3,012.50
91 150 shs. United Fruit Go, 7,162.56
20 29 she. Orooker, Burbank’ & Go, Assoolasion 1,595.00
3 90 sha. Bastman Kodak Go, 3,942.00
24 LOO shs, Continental Insurance Co.. 5,062, 50
25 100 shs. Pidelity-Phoenix Fixe Tnsurance Co,
26 of New York 51375,00
27 31 shs. HI. du Pont de Newours & do. $4.40
28 Gum, Pfé. 4024.80
20 i Cash 961,12
80 19h9
81 Apr. 22 Cash L1, 750.00
32 1960 . .
- 838 Mar. 1h Cash . 3, 238,66
84 os 84,725.41
86 $68,725. HL
86 Share of Mass, pares, pod on . ,
af gains to principa 5a.
as $8, 782, 59
40 ~
4} Yorvard $439,901.19
42
43
44
45
46
47

Case 1:12-cv-01567-JKM

First and

Hing] Account

1948
June

3

22
it

Distribution of

Document 12 Filed 07/18/13. Page 77 of 93

JAMES 3, PROCTOR . Page 21

SCHOTULA Bo Contiyiued Forward $437,901.13
PRINGIRAL DISTRIBUTION + Gontinued
q

the following property, in ‘Rocordance with

the provisions of the will: ~ continued

Delivery of

the following property in accordance with the

provisions of Article SIXTY of the wlll, representing
the residue of the estate: 4 continued

Mary J.P. Case « 1/Mth
fags + Book, Veluos
3 sha. Mahoning Goal Railroad do. $1,200.00
35 shes, American Tel. & Tel, Co, 6, 243.12
5% shs. General Motors Corp. 3,852.50
LOO she. B.T. du Pont-de Nemours & Oo, 18,137.50
. 87 shs. Herovles Powder to, * by 556.63
75 shs, Now Jersey Zino Go, 4K, 621.87
400 she, National Bisonit Co. 3,012.50
150 she, United Peutt co, 762, 50
29 she. Crocker, Burbank: & Co. Association 1,595.00
90 shs. Hastman Kodak Oo, 3,942.00
100 she, Continental, Insurance Co, 5,062. 50
100 sha. Widelity-Phoentx Mra Tasurance Gos -
of New York 53375400
Ji sho. HI, du Pont de Nemours & Go. $4.50
- -Pfd, - 4,014 56
Cash . 961.4 12
Cash | 11,750.00
39295085

“noe. 8% 7824.59

Forvard $522,683, 72

Case 1:12-cv-01567-JKM

Document 12 ~—~Filed 07/18/13

Page 78 of 93

bt, mb oH
First and
Hina) Account ZAMES Hy PROCTOR fee
of et .
i SCHEDULE Bs Continued Forward 607, tog, 12
2
3 ERINCIOAL DISTRIBUPTON » Conginued
4
5 Distribution of the following property, in accordance with
6 the provisions of the will} ~ continued
7
8 Delivery of the following property in accordence with
9 the provisions of Artiols SIXTH of the will, repressnting
10 ‘the residue of the enteate: = continued
ly
12 John R. Proctor and Boston Safe Deposit and Trust Company,
12 ‘we trustees « 1/lth oe cee ene eee
14 1948 Book values
16 June 3 3 sha. Mahoning Coal Railroad Co. $1,200.00
16 35 shs, American Tal. & Yel, Coe §, 243,19
17 6? she. General Motors Corp. 3,852.50
18 100 she, E,I. du Pont dé Nemours & Co, 18,137, 50
19 &7 sha, Hercules Powder Jo. 4, 556.62
20 75 sha. New Jersey Zine Co, 1621.88
a1 100 sha. National Biseult Cos 3,012.50
39 150 she, United Fruit Go, , 7,162.50
93 29 she. Crocker, Burbank & Co, Association 1,594.00
24 90 she, Bastman Kodak Co, 3, 942,00
25 100 shs. Continental Insurance Co, 5,062, 50
6 100 sha, Fldeld tyePhoentx Fire Insurance (lo, .
ay of New York - 5375600
28 31 she, Het. du Pont de Nemours & Co. $4.50
20 - "pea, 4, O14, 50
30 1949 _
St’ Apr. 22 Cash 121,740.00
82 1960
88 Nav. 14 3,238.66
ad
35 Merke+ Values as of April 28, 1948
86 1948 ,
37 June 3 & she, Mahoning Goal Railroad Co, 61,12 84,725, 41
8B $84, 725044 .
38
40 Shere of Mass. toxag paid on 18
41 gains to principal 57.48
42 $84, 782,89
aa ne
46 $692,134, 53
46
a7

Case 1:12-cv-01567-JKM

First and
Mnal. Account

Nutnbe
of tent

1960

2
8
& Mar.
5 period
6
7
8

+

As of the date of death of this testator land 1
Hasse, vested in Msther Bs Proctor

Document 12

JAMES H, PROCTOR

Filed 07/18/13

SCHEDULE O

1& Representing assets held at the close

HORE

HASTMAN KODAK 00.

Page 79 of 93

of thidvaccounting

n Gloucester,

Tn duly 1947 stockholders received 50 shares of $10. ‘par dn

9
10

iW

12

13

14.

16

7 exchange for 10 shares no par stock, on the dagis of 5 for 1
18

19

20

. Page pl

None

Page 80 of 93

Filed 07/18/13

Case 1:12-cv-01567-JKM Document 12

Ares

fe

Scat ate 5

’ i ro
oo

Ae +WHONNS, Tog

ced
| PPE tae fer pytng

eet is

i4 6E Cc; Oe 3 ‘qeamya .
2 if t x
[96t SI f~ Penssy woneyp
iS6h mil AURE
Ra a rom
a
~ ,
. eS \e
oe “es .
. <p
. é:

$ HOZQORE —mauiratr erent

fNooooy — .
¥ Teaii pte asite 7

tase “A says ¥
&L08T ON
ann €

ev
Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 81 of 93

06 97-0376

MA Supreme Judicial Court -
Archives and Records Pres. . Loe
3 Pemberton Squate, 16" floor

Boston, MA 92.108- 1701.

“ elizabeth. ¥ ex ic st ta.ma.

t

, REFERENCE,

Yel, 617.857.1082 —
Fax 617.557 ,1088

pare: (2/7/2007

‘TO WHOM x0 MAY CONCERN:

ot attest that the attached isa "true photocopy of the
original probate record for 7HMAS F: Pa scree, 2 eashunll $ FistamenT
Docket. number_ G7 BY i ; probated lafan/owoek ,
in the - CUFPOLK county Probate and Family Court
Department, As peconde) “vy Vit OE a? Sp a7 4 ce

he original of this record ié located ‘in the gudicial
Archives, Massachusetts State Archives, Boston, MA,

‘For further information or assistance please | contact our
office.

PaO.

oy & &
68 & 3 2
aS. oe OE wort
1B 9 os We BRS
eee s S06. «@ » #
Bonk ha ME IS HS
Rea Poe ogues HS BB
nage BogRads waa ee
probate.frm HSS AN UM aa ge
aoa. iss a ge & aa

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 82 of 93

EXHIBIT F

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 83 of 93

- EXHIBIT F

PRA 8 Aa we ewes tn ACT ee en ey (PT Beers amattenratn nan oe ae NES

~ + pes
o GBR E cachusetts, aa of thie 2X aay-of @ why ; 1980,: 1 by

TTT at “eta eta

Hee eas bye rome am

5

Then SZ Pace ws Hebe aac” ee, f!

- et . e
iy : . Wom eda va
e 7 ot

DECLARATION OF TAUST made and entered {nto at Boston,

and between ALVIN S. HOCHBERG, H8Q,, Of Newtonville, Mnadgchuddtta,

ard CHARLYS G, RICH, of Hamilton, Massachusetts trocetnadon

called “Trustaay"), Eh

fso cyiaueasy

we

ea
g
l. ‘he trustees hereby ayxeey dealare and soknonl Spo ea

“
they and thely successors in Trust will hoid in trugt the lang
and property, inaluding off and gas and other minerals, whether -

similar ox dissimilar, liquid, solid or gaseous, and the rights

re +

and intereata therein, in the Commonwealth of Pennsylvania

(colleotively called “proparty*) fron and after the date on which - {
Srantoxa {as dafined herein} hava gonveyed thotx interests in the

Property to and such intexests ara acvepted by the Trusteas, on . . J

the following terms and conditions, . :
Grantors are defined as such persons or entitiss, . either
individually or colleativaly, wha have from time to time been
vested with tha Property ae or through an. heir, legatee oy deyisag tl
of Thomas B, Proctor, late of Boston, Madsachusatts, who diad on , . |
Devembar 7, 1894. The Grantors and thelr helrs, pexsonal repre
aontatives, sucvessorg in interest, or their assigng’ are also either
individually or collectively referred to herein as “Bonefictariaa™,
2, Yt is understood that the property is now the subject of
& lease, dated Janyary 1, 1980, and related agreements hatween the
Grantors and Exxon Corporation, Proparky conveyed to the Trusteas

by the Grantors -shali be subjaot to said lease and agraemants. and: ¢

wig 106 a 879

? !
4
cr weit selptyy sein Sateen sa tte POTN A ena ten agLe « ee are

af . . . .
See ene Hee ten dnt te Mle bee Eee teetst, tar white tig

arenas. PRU T er sake Big ere datieernpe oe “ F

Ave eee ee ee ee ee, tee aren wg tatty

oth ey

Filed 07/18/13 Page 84 of 93

Case 1:12-cv-01567-JKM Document 12

y q

ou COME A brea ha bd dt pe ay ym pa on Ea

*

fe ota dee dane Etshua de

a
ee
i
f
i
t

1

the net prouseds reoaived MUX thO Grint GOQpurovant tharato ang

the compensation #¥rangementa xelating thorato shall be controlled

by eaid lease and agreements and nok hy the provisions of this

Dedlaration of truat, The purpose of this Trust shall be to

facilitate tha handling and managing or other application of the

Proparty for and on behalf of the Benefiotarias and the collection

and. distribttion of proceeds of the Property received by them ag
Fa °

Trustees in the event that the Exxon lease

and agreements ghatt

terminate, or part ox parts of the Property
from BUCH lease and Agreements, and it shall

Trustees to seek other avenues fox the explo

shall be released
ha necessaxy’ for the
dtation of the Property

_ OF GNY Part thereof, provided, hovever, the Trustees shali have no

Powers Co opexate ox to Carry on any businasa, mining, or o21 and

gaz operations in gonnection with their duties with raspeot to the

Property, ” é

3. «Tha Property together with all proceeds thereo€ and

other assets received by the Tetisteas at any time or from tina to

time may ba merged, conmingled, and handled aa a unit; however the

Trustees ghajl at att times determines ang keap vecords indenting

the respective Proportional beneficial interests of cach Benefiolary,
. This Trust shail be known as the TitoMAg
Te:

The Trustees hereby agree and aoknowledge that-from and

E. PROCTOR
HEIRG ‘2RUS
5.
after tha oonveyanca to them by the Grantors ©
they will hold tha same in trust fox the Benet

£ the Trust Property
fotaries, |

s2a

aA,

Sep tate

ee a Ee ore. pth

pH ink

: % «fe
Bea attta batt otitis

nhs

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 85 of 93

“
‘
%
i
i
t
4
- te

{
re . 6. Any and all proceads reseived hy the Trustees from any: :
ue sale, rental, lease or enoumbranes of the Trust Property or any .
= portion thereat, after dodustion of and provision fox all roasonh- i
ab able and necessary expenses including Trustees! eomponsatian, shall i
“t bo dintribyted to the Beneficiaries in the respective proportions “+
é of thelr beneficial interests, Each Beneficlary's interest shall a
iB he payable to his asgigna oy to hig heirs, lagatees, davigees, or
a personal rapresentatives in the evant of his or her death prior ,
} te the termination of the Trust and the complete distribution of

+ j the Trust Property, .
ed 7. In the administration of the Tryst, the Trustees shal)
ist have the following powers in addition to and not in Limitation oF
ihe . those oonferred by law or othortwise:
re . a. 0 manage and control the frust Property as they
i F _ tay deem to be for the best interest of the Benefieiaries,

: .

i as fully as though the Trustees wera the sole legal and
ve * - equitable ouner of tha Property, including, without Linitas

, tion, selling, leasing, optioning, exchanging for other

: tL : property, mortgaging, and otherwise contraoting with rospeck

; A to the Trust Proporty; collecting and distributing the net

‘ proceada thereof, and executing insExuments containing such

e terms and proviaiong ag they datermine to he neosssary or

. desirable in connection with their duties ag. @rusteas) pre-

ty vided, however, the Trustees shall not actively engage in

we + any bueinegs or carry on mining, of] oY gas operations ‘
“e ' :

Hs ton 268 mu 664

fl “

rt tyrant tenes a Ce eds ge tT . we etena Af sence an wae dose ‘ns

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 86 of 93

lr - - - . 7

oe eo t
oy
+ spat ery bo epapi We LR WALA ATD x: es > rT vee 4
1
5 ,
q
CU ew : - . |
{ bh. To incur exbasablGiitn, &he, deom- necessary in
I . connection with the adninistratien of the Trust)
1 . .
‘} 4. To borrow funda, if they daom it necessary, to
\. . :
} . maak a temporary axigenoy, and to give notes or othar socurity i
| , therefor binding the aggeta of tha Trusk but not tha Bene=-
flolaries personally ox thely assate) .
4 . ‘ ‘
2 4, fo sompromise or settle any olaims, suits o: f
* g . ' *
yf »  , demands, or yatve or release any righty related to the
fxust Property; .
ee - + @ | Fo employ officers, agents, attornays and servante
‘ | te and to pay the costs thereof as an expense of administering’
T of
tf ot the Trust} é
=: He as . fi To sue and be sued and prosecute and defoand any
:: ° and all actions affecting tho must or ita Property, pro-
2 vided, however, that the “trusteos shall not he obligated to
eh . sue or defend unless (i} they deem such suit ox defense to
oe he desivable, and (Ai) thay are requested in writing to do
» fe ‘go by a majority in interest of -the Henefielaries who shall
+t:
; it indemnity tha _Trustoes with *espect to the expenses and
* PE costs of each uch ouit.or defense’ pro rata ag each interest
+ fe .
wa bears to the total intérabts sa xaquesting. re dese than ‘
ks nhl of the Beneficial Interesta so request, and agrea to —
ab. : indemnity them, the interests go requesting and agreeing to
ey ‘ indemnity shail first be entitted to recoup 2008 oF theix
2. : vaspeotive costs and expenses of each suit or defensa out.
2
ie ° p
hea
i :
Ree
at
. 3 . . “4 .
\ ae rT RENTER RTA ich wrote PES EP BERR Type eg ror tisio gre rt
2 wT ane bytes fap tte ate we a Meta eh, three dt Peds Teeter yates Sher de glo secnw
} :
. *
7 ' . ' a 1 ‘ “ . .
. : of r .

fr ae

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 87 of 93

ve

100% of future net sumg ragelved by the Wruak fron any soured .

before the non-raquesting interests participate, and ‘the

ee

tonugteea ave hereby emporeved to act agcordingly.

She Trustees ave expressly empowered to abandon any

Shap eed mae TF Ment yatta .
saptitten Bean ae ee
m sat es
i
“

Je
park oy all of such Property L£ thdy, in thotr uncontrolled
: disoretion doom it desirable to do so, including the authority t “
a4 “. a
rT to refrain from paying taxes of. any nature appurtaining to any yt

part or all of the Property, 1£ thoy so determine, even LE +

" such failure to pay such taxes may result in tax sale of such

property to others and tha extinguishment of all rights of

we

if : j, xedenption.

AE “ h. No Meende of court shall be required for the

At yalldity of any traneastion entered Into by the trusteas and

“tite Trustees shall have full power and authority to execute

all deads and other instruments necessary of propar to

garry such trangadtiong into effect, very ‘instrument

=e

3 eee ee crn

exeauted by those who, according to tha recoxds of the

art

Racorder Of Deadg of Sullivan County, Pennsylvania, appear 1

to be the Trusteas hereunder, shall be conclusive evidence

jn fayok of every peraon relying thereon or claiming thore-
under that at the time of the dobivery thereof this Trust
vas in full force and affect. xvery porson dealing with the

come hoy
oy shies OL

gkust Property or the Trusteos may always rely on a certifi-
oake signed by ona appaardng Frew the aforesaid records in

said Offices of the Recorder of Deeds, to bé a Fruetea hora~ , ©

) ‘ sax 406 na 883
whe

erie cee F
BEET yy ee paar eniaenyergee St PETG

AM ane see ak carn ae Le 4

Page 88 of 93
« o ” y

Case 1:12-cv-01567-JKM Documenti2 _ Filed 07/18/13

MArGbhy pctetaia ty Hag

ssa be eer eeF

wit +

nen toe ame te,

SE rt rig ate,

STNG ape sept

Pom ee ay ee ey

SOE gece ge et

res

ithe meee a te

elite

dee ae

ewe ea

box 208 mie G4
St haa bean terminated or aa

ae

under, as to wheather this Try
. to the existence or nonexistence of any, fact or facta which
May constitute ednditdions PXxacedenk to aotg by the Trustees

or are in any other manner germana to

the affairs of the
- Trust, :

8. The Trustees shall not Warrant theie title to the Property .

‘which. the Grantors convay to this Trust. The Trustess ghalt undex=
take to exercisa Only ordinary caxe in vollecting Suma due to them

‘an Trustees and in distributing tha nat proceeds therefrom, the
Trustees shall not be liable for any error of Judgment oz for any
lose orising out of any aot or fallura to aot in the execution of’
this Trust, so long ag they act in good faith, nor shall a Trustea
beg porsonally idable for any acts or failures to act by the other
Trustea or by. any offloer, agent, servant or embloyea sealactad
with reasonable cara, A TYustee shall not be required to give any
bond ox surety in hig vapacity as Prustes and shail hot, be subject
to any obligations of or to the Beneflolaries or the Grantors other
than those expressly assumed hereunder, Whonever hereunder the
“trustees ara obligated to pay money to ‘the Reneflodariag, dt da
Understocd that such obligations are undertaken by them {a thady
Trust capacity only and not personally, ‘nd that such Paynents are
to be mado only ont of such.funds ag the Trustege have in their
hands available therefor, The Trustees shall be entitled te
‘indemnity from the Tenet Estate for any personal Liability dnourred

by them or either of them {n the administration of thig trust,

-§-

I

TST SLT PST STE trate Sar
‘ re we ay °

Seeneveett de ENG batten Date Mae teal

SPREE RENEE tine Te tewnnier Fa rtetpeng

wakes fate ah of tea, "Ss
*

ads,

.

Case 1:12-cv-01567-JKM Document 12

Filed 07/18/13 Page 89

of 93

TE ee, pater

: . , ue

the Trustees may retain and sooura advioa from logal counsel of
other advisors and shsll be pxoteated ag ‘te any ‘action taken in good
faith and consistent with augh advice, it being uiderstood that any
such counsel ox advisor may ox nok ba a partnership or corporation
of whigh any Trustee shati he a member, director, stockholder,
officer or employea. The compensation for such counsel or advisor °
shall be an expénse of administering the Trust. ‘Tha Trustees
shall alse be protected in reting on any wedtten dooument believed
by then to be genuine,
9.
in-whole ov in park by the ?rasteas then serving with the weitten

s

Thig Trust may at any time or times he anended or revoked

consent of three-fourths in interest of the Beneficiaries then of -
fuld age and legally competent, Such amendment or revoration shall
be by an instrunent tn writing signed and acknowledged by the
Trustues with the neoessary assents noted thereon, provided, that

a cerlificate that such amendment or yevocatidn was nade shall be
filed fox record in accordance with Paragraph 18 of this ?rust,

Ko oxerolag of thls power shall exhaust it. No person, truetas ox
corporation dealing with the trustees shall, be hound by any such
anendment or rovocation of this instrument unless written notica

thereof; signed by tha Trustees, shall he delivered to such person,

* testes or corporation.

remy vine tatst

Unloss revoked an above provided, this Trust shall

texminate upon the first to occur of the following aventst
a, The gale or other dlatribution of all of the
Tzust Proportys or .
Poin 3.06 tae G85

ae .

oils sence

re

Spee retet eed one
Tiree peas ee eee ae ae
* +

ch ars see eRe ERE reteset ont Beene

. ut 93
Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 . Page 90 of

r

y

Se oem ae
7 ‘

eT:

wT he trees

Ae tte

Tree

EE tied ek cette

aa separ

. 2h tat te ne geesstee 8 wae ces terctr te bo eteceeas Saree Moe . ‘
Ve mt ps ESTERS PV SEE vp se 7 EE eam pantie mee nse zy
' . . + . > oO eI fare
we * wy

yo

7 . ' aad . .
ABE en eigete aod diy do ay Sette het Sa Baas nt

“ . t
'

a . .
* Sei BY ie, Mp. aes A As A a karen
PSA ESE TEREST FOR EI AN ROOTR. SES EARZE he Fan tay eo arapalepa da ates ND, MN nace,

Ts b, The expiration ott A O8, So PYG ue next tollow-
ing the death of the last smyivor of ‘he following
descendants of. thomas Hy Proctor Matting k, Pxootor,

Maxy Py Yntera, Charles Case, Esther Prootoy Moras,
Geraldine He Graig, Anne Ayer Haonichol, Ethan Ayor,

Rath 2, Dougher, pavid Ayer, Hilda Ayer Curtis, Chy lstepher
Gilbert Rloe and Charles Rica Rendall, .
Upon such termination or Yavocation, tha Property then com

prising this Trust, after tha Payment of al) exponses, shall be ,

distributed and paid over to the then Beneftedarias In Aodordancs

“with their bonefiotal interests,

10. The Trusteas shall kageive compensation fox theiy
Services hereunder and reimbursement for expenses ag follows;

a. The Trustees shall reneivo saven and one-half
Parcent {7~1/28) of the yrogs income of this True on an
annuad basis for their sarviogs,

b. ° YF at any time the Trustees do not have in their
possession Buns which they *eatonably deem to ba aufflotent
for tha expengas of tha Trust, including, ulttiont limitation,

‘  ‘Wrusteeg! compensation, taxes and insurance premiums, tho
Heneficiaries shall pay to the Trustees thei: Proportionate ‘
share of auch exponses promptly upon notification te them by
tho Trusteas of the nakure and anounk of sugh oxpensan and
each Soneficiary's share thereof, ‘ .
il. A Prustes may resign by giving ten (10) daya written

notioe, delivered personally ox by certified mail, to the remaining

=fa

+ + * ”

vee TB ee ae PEE ee ao ear la

4

as

: it

Trustee and all of the then living Benefielaries and filed for

xecord in secordanes with Paragraph 16 of this Trust. . In the

auch vacahoy by the holders of two-thirds in interasé of the then

tL rents erm

beneficial interests in thie trust who AKG O£ full age and .

mech er ne aes

competent; brovided, however, L£ the vacaney is nok tilied within
auch time the Kenalning Trustee shall appoint 4 Successor, . Until

rent ae AN ca me
TREE Aor,

Trustas, A Beneflolary may boo a Prustaa, Upon weltten accaptanoe

-

of the triste hereunder, a Sigceasor trustee shall immediately

ME

Suceead to the Povers, obligations and duties of hie predecessor

vo hited ste

without the necessity of any convayanga or further ROE. A Druskee

may be removed by the weleton action of two-thirds in interast of
the then benefioial interests in this crust: ,

12, Tho ‘ustedes shaly Fender an annual account of their of

Ma
a
a
a
he
=
he
“a
o
H
oe
<
o
as
¢
Mh
t
oD
e
+
a
a
or
o
o
oO
my
a
=
bo
D
>
a
Hh
bn
o
bo
bu
y
Me
°
h
=
Ee
a
a
om
2
=
mb

a
ST

of theiy aduinistration ‘of the Tevet shall be deamed aceapted Le
hot objected to ty Writing within thirty (30} a@ays aftor the sub=
mission of any such aocount,

23.0 A bonefioday interest under this Trust may be assigned

7 —ektinirineth, 4, lon
a en
Roo
<x
a 5
a oe
z ©
eg
5
o
mM
a
& &
- or
2s
a
fa a
s §
=
be ite
s =
o mm g.
Hoo
Bg

2

=

re

a

rr

~
=

a

ot

x

a

ao

7

e

be

u

x

ow

be

a

q

+

4 to the Assignes with a. copy
delivered to tha TkUstees, ¥ach Assignee shall agree in writing

ow wg fk 5.08 tee BEY
eee ae crete + se

Ee ee lea, ter teeencs Mente Sab mes

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 92 of 93

5
dbo enh NAS VETER ADS

® : . 7 +
_avpvtayteeny cong dad 9A SRN TIS A OND PRET RESIN GLEE ETE We
“— ™ is

fe
- seer eC eee eee fe te t + ee oe ee
nt we, .
ie to, and, Shall be bound and ont iaated by, the terms of this Trust
, ‘ mo bik 368 Fate 588
} instrument. She Trustees shall not be obligated to recognize any
t: augh Assignment until such time as ‘they #hall have reoeiyed a .
t .
re copy o£, auch Assignment and written agreement of the Assignee '
_ in the manner get forth above,
; 44, References hereunder to "Yrustea" and "Trustees" shall .
? Mean the txvustee or trustees from time to time serving hereunder
ft ‘ .
E and the singular ox plural shall be deemed to inolude the singhlax -
:
£ and pliiral and tha masouline to inglude the feminine and neuter.
ft “LS. This Trust shall be governed by and sonatrued in accor
i danve with the laws of the Commontiealth of Massachusetts.
; 16, ‘This Trust’ and other instruments oreated by the provisions
i hereof toe be filed for record shall be recorded with the Office of |
\. the Recorder of Decda of sullivan County, Pennsylvania, -, .
1! , IN WITNESS WHEREOY, tha parties hereto have horeunto set |
ba theis hands -and geala the day and year first above written,
le
i’
Pi ”
1h .
i’ ‘ .
| Chavlos G.” Ride
[ .
be . '
Fede
a. .
: t . . ~L0-
‘ oar i memes wT Types TOTES HAT Oe ere Perce cebmss pty te sane t ter cel
Wo cc a BLL bade ute ns wey
wt He ee ee Ret ee ene
. . . ’ 2
* i oy

Case 1:12-cv-01567-JKM Document12 Filed 07/18/13 Page 93 of 93

a
+
:
a .
t
"4
‘
’ + at “ot ‘ :
. 4 ‘ . ot ;
. ' ’ te
“? 4 J ‘ .

.
:
“
.
. + Ba tye te tee eee tie tt
. . : 2
‘
z : :
ME state - wR Meera ED bee eee ae ne tae Be erm
. 4 ° vn
fo
‘ . t

i ' . COMHONVEALTH OF MASSACHUSETTS

ye |

Baffle 83. bbl. ad , r980
Then personally Aappearad the above named ALVIN. S, HOCHBERG, wae

} and acknowledged the foregoing to be hie free aot and dood 7

before ma . Lo. a “ :
! ‘ . wee #
. | i p Ae ee 0 Ae SIN
. . 2 Bas, . tat aed, 1
. : Obary Publig “Vay as Wie wpe i

Hy conaieeion sapiens 4 i
Ly BP hy aed wet

. 2 %) see
. . “, ts *
ce ke
: frelay yaar
‘
$ ?

CF sa, belle ae, ssa

[
j . I,
| . J + COMMONWEALTH OF MASSACHUSETTS : i
, Then personally appeared the above-named CHARLES G, RICE» ‘
t

and acknowledged the foregoing to he his free act and deeds
before ma

RECORDED! | tae *

ye COV 16.08 a So 1 fl

i 24
. tus 266 ee S09 :
" . . . . * a.
“Lbs
“ tleeipe ‘seat deh ese wk ates savages ‘ Seems anar i ta , +E ait . . - + ye
. oe s SO hae ee ee ta ete |

~ *

